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 9                        UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA

11   JORDAN ZUCKERMAN, an individual,            CASE NO. 3:24-cv-00128-WQH-BGS
12                     Plaintiff,
                                                 DECLARATION OF JOHN FRIES
13                                               IN SUPPORT OF DEFENDANT
                 vs.                             CHARTER COMMUNICATIONS,
14                                               LLC’S NOTICE OF MOTION AND
     CHARTER COMMUNICATIONS,                     MOTION TO COMPEL
15   LLC, a limited liability company; and       ARBITRATION
16   DOES 1 through 100, inclusive,              Hearing Date: April 8, 2024
17
                       Defendants.
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                                    DECLARATION OF JOHN FRIES
Case 3:24-cv-00128-WQH-BJC             Document 10-2          Filed 03/04/24   PageID.174     Page 2
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                                 AFFIDAVIT OF JOHN FRIES

        I, John Fries, hereby declare and state as follows:

        1.      I am the Vice President, HR Technology, for Charter Communications, LLC

 ("Charter" or the "Company"). I have been employed by Charter in that position since February

 2019. I am over the age of 18 and competent to give this affidavit ("Affidavit"). Based on my

 role and responsibilities as a Vice President, HR Technology, and my review of Charter's

 electronic records and other information obtained from Charter's information systems, including

 PeopleSoft, a system used by Charter to electronically collect, maintain, and report on employee

 information, I have personal knowledge of the facts set forth in this Affidavit and, if called and

 sworn as a witness, I could and would competently testify to the matters set forth herein.

        3.        I submit this Affidavit as Charter's authorized corporate representative, and

 therefore, the statements contained herein are the statements of the Company.

        4.      Charter provides telecommunications services to customers throughout the United

 States. Through its employees, Charter provides its products, services and equipment to its

 customers nationwide. Charter also purchases and sells goods, materials, supplies, services and

 equipment in multiple states. During all relevant times, Charter was (and still is) engaged in

 interstate commerce.

        5.      Solution Channel is Charter's employment-based legal dispute resolution and

arbitration program ("the Program").

        6.      On October 6, 2017, Charter announced the Program by email to all non-union

 employees below the level of Executive Vice President, who were active and not on a leave of

absence on that date (hereinafter referred to as "Employees").




                                                 1
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        7.       Employees received the email announcement from Paul Marchand, Executive Vice

 President, Human Resources, at the Charter work email address assigned to them.

        8.       A true and accurate copy of the October 6, 2017 email sent by Mr. Marchand to

 Employees (hereinafter referred to as the "Solution Channel Announcement"), is attached hereto

 as Exhibit A.

        9.       The Solution Channel Announcement indicated to Employees that they would be

 enrolled in the Program unless they opted out of the Program within 30 days. That 30-day period

 expired on November 5, 2017. Specifically, the Solution Channel Announcement stated in part:

        Unless you opt out of participating in Solution Channel within the next 30 days,
        you will be enrolled. Instructions for opting out of Solution Channel are also
        located on Panorama.

        10.      The Solution Channel Announcement included a link to the Solution Channel web

 page located on the Charter intranet site accessible to Employees, named Panorama. The Solution

 Channel web page was accessible to the Employees on Charter's network, and included additional

 information regarding the Program. A true and accurate copy of the Solution Channel web page

 content is attached as Exhibit B.

        11.      The Solution Channel web page accessible to Employees on Panorama included a

 reference and links to Charter's Mutual Arbitration Agreement and the Solution Channel Program

 Guidelines. True and accurate copies of the Mutual Arbitration Agreement and Solution Channel

 Program Guidelines accessible to Employees using those links are attached as Exhibit C.

        12.      During the 30-day opt-out period, the Solution Channel web page accessible to

 Employees on Panorama also included the following information:

        Opting Out of Solution Channel

        If you do not opt out of Solution Channel within the designated time, you will be
        automatically enrolled in Solution Channel and considered to have consented to the

                                                2
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        terms of the Mutual Arbitration Agreement at that time. To opt-out of Solution
        Channel, please click here. In the new window that will open, click Main Menu-
        >Self-Service->Solution Channel.

        13.     If Employees selected the "click here" link, the PeopleSoft system was opened.

        14.     Employees who signed into PeopleSoft using their regular network credentials

 could select "Self Service" from the main menu on the PeopleSoft home page, and then select

"Solution Channel" from the Self Service menu. By selecting "Solution Channel", Employees

 would land on a page within PeopleSoft, at which they could opt out of the Program (hereinafter

 referred to as the "PeopleSoft Solution Channel Opt Out Page"). A true and accurate copy of the

 PeopleSoft Solution Channel Opt Out Page is attached hereto as Exhibit D.

        15.    If Employees wished to opt out of the Program, they checked the box next to the

 phrase "I want to opt out of Solution Channel", entered their name in an adjacent text field, and

 clicked "SAVE". Employees had the option of printing this page for their records.

        16.    Employees who opted out of the Program by following the steps described in

paragraphs 14 and 15 received an email from Charter confirming that they exercised their right to

opt out of the Program.

        17.    Employees who did not opt out of the Program by following the steps described in

paragraphs 14 and 15 on or before November 5, 2017, were enrolled in the Program. These

enrolled Employees could then view their enrollment status in PeopleSoft by accessing PeopleSoft,

selecting "Self Service" from the main menu on the PeopleSoft home page, and then selecting

"Solution Channel" from the Self Service menu.

        18.    After November 5, 2017, Employees could no longer use the PeopleSoft Solution

Channel Opt Out Page to opt out of the Program.




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        19.     Charter maintains within PeopleSoft a record of Employees who opted out of the

 Program between October 6 and November 5, 2017.

        20.     I have access to and have reviewed Charter's PeopleSoft records and confirmed

 that Jordan Zuckerman was an employee of Charter on October 6, 2017.

        21.     I also have access to and have reviewed the list of Employees to whom the Solution

 Channel Announcement was emailed on October 6, 2017, and have confirmed that Jordan

 Zuckerman was included in this distribution list. A true and accurate copy of the Solution Channel

 Announcement emailed to Jordan Zuckerman is attached hereto as Exhibit E.

        22.     I have access to and have reviewed Charter's record of Employees who opted out

 of the Program between October 6 and November 5, 2017, and have confirmed that Jordan

 Zuckerman did not opt out of the Program during that period.

        23.     Charter's records show that Jordan Zuckerman was a participant in the Program as

 of November 6, 2017. A true and correct copy of Charter's PeopleSoft record showing that Jordan

 Zuckerman is a participant in the Program as of that date is attached hereto as Exhibit F.

        24.     I declare under penalty of perjury under the laws of the State of California and the

 United States of America that the foregoing is true and correct.

        Executed this 27th day of February, 2024, in Charlotte, North Carolina.




                                                              JOHN FRIES




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 1                                  PROOF OF SERVICE

 2        U.S. DISTRICT COURT, SOUTHERN DISTRICT OF CALIFORNIA
 3
           I am employed in the County of Los Angeles, State of California; I am over the
 4   age of 18 and not a party to the within action; my business address is 333 S. Grand
     Avenue, Suite 2225, Los Angeles, CA 90071.
 5
           On March 4, 2024, I served the foregoing document(s) described
 6   DECLARATION OF JOHN FRIES IN SUPPORT OF DEFENDANT
     CHARTER COMMUNICATIONS, LLC’S NOTICE OF MOTION AND
 7   MOTION TO COMPEL ARBITRATION on the interested parties to this action
     by delivering a copy thereof addressed to each of said interested parties at the
 8   following address(es): SEE ATTACHED LIST
 9        (BY MAIL) I am readily familiar with the business practice for collection and
10         processing of correspondence for mailing with the United States Postal Service.
           This correspondence shall be deposited with the United States Postal Service this
11         same day in the ordinary course of business at our Firm’s office address in Los
           Angeles, California. Service made pursuant to this paragraph, upon motion of a
12         party served, shall be presumed invalid if the postal cancellation date of postage
13         meter date on the envelope is more than one day after the date of deposit for
           mailing contained in this affidavit.
14
          (BY EMAIL SERVICE) I caused such document to be delivered electronically
15         via e-mail to the e-mail address of the addressee(s) set forth in the attached
           service list.
16
17        (BY ELECTRONIC SERVICE) by causing the foregoing document(s) to be
           electronically filed using the Court’s Electronic Filing System which constitutes
18         service of the filed document(s) on the individual(s) listed on the attached mailing
19         list.
20        (Federal) I declare that I am employed in the office of a member of the bar of
           this court at whose direction the service was made. I declare under penalty of
21         perjury of the laws of the United States that the above is true and correct.
22
           Executed on March 4, 2024 at Los Angeles, California.
23
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25                                                 Windy Thor
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                                         PROOF OF SERVICE
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 1                                   SERVICE LIST

 2   Allison M. Schulman
 3   LAW OFFICES OF ALLISON M. SCHULMAN, APC
     1055 W. Seventh Street, Suite 1920
 4   Los Angeles, CA 90017
 5   Telephone: (213) 262-1825
     Facsimile: (213) 262-1834
 6   Email: allison@allisonschulman.com
 7          reception@allisonschulman.com

 8
     Attorneys for Plaintiff
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          AFFIDAVIT OF
          AFFIDAVIT OF JOHN
                       JOHN FRIES
                            FRIES -- EXHIBIT
                                     EXHIBIT A
                                             A
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 Charter
 Charter
  COMMUNICATIONS
  COMMUNICATIONS
                                                                                                             6, 2017
                                                                                                     October 6,
                                                                                                     October    2017




  We should
  We   should all  take personal
               all take  personal pride
                                   pride in
                                         in ensuring our company
                                            ensuring our company acts   with integrity
                                                                  acts with  integrity and
                                                                                       and respect. We
                                                                                           respect. We
  strive to
  strive to do
            do the
               the right
                     right thing
                           thing — no matter
                                 — no matter the              or the
                                                 circumstance or
                                             the circumstance        situation.
                                                                 the situation.

  Our reputation
  Our reputation and
                  and the
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  and collectively
  and collectively as    company. In
                   as aa company.   In this
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                                             regard, our
                                                     our behavior  is governed
                                                         behavior is  governed byby the standards,
                                                                                    the standards,
  guidelines and
  guidelines  and policies
                  policies outlined
                           outlined in
                                     in aa few      resources. These
                                                key resources.
                                           few key                                 explain what
                                                                       resources explain
                                                                These resources                 you should
                                                                                           what you  should
  expect in
  expect  in the workplace, as
             the workplace,  as well  as the
                                well as   the company's   expectations of
                                               company's expectations    of you.
                                                                            you.

  Our Code
  Our  Code ofof Conduct
                  Conduct embodies
                            embodies our our business     ideals, describes
                                             business ideals,                               employees should
                                                                               behavior employees
                                                                  describes behavior                              strive
                                                                                                         should strive
              and provides
     model, and
  to model,
  to               provides the    framework for
                              the framework    for reporting
                                                    reporting ethical     concerns in
                                                                ethical concerns      in the
                                                                                         the workplace.    The
                                                                                              workplace. The
  Employee Handbook
  Employee     Handbook sets
                           sets forth       policies, guidelines
                                        the policies,
                                  forth the             guidelines and
                                                                     and rules   that govern
                                                                           rules that  govern workplace      behavior.
                                                                                                 workplace behavior.
  Further integrating
  Further  integrating our
                        our three
                             three legacy
                                     legacy companies,
                                             companies, we              refreshed Charter's
                                                                have refreshed
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  and Employee
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                    Handbook to  to ensure
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                                             we're all
                                                     all abiding  by the
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  and values
  and           that guide
       values that   guide our
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                                                                                   Code of of Conduct
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                    available on    Panorama. The
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                                                                                  includes references      and links
                                                                                                                links to
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                                have various    business unit
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  our activity. You
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  Employee     Handbookand these                    policies. We'll
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                                                                                     see success     in the
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  daily routine.

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                                                    recognize that   some employment-based
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                over 40,000
      covered over
 has covered
 has                                   employees. In
                              Charter employees.
                     40,000 Charter                 In the
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                                                           unlikely event of aa dispute
                                                                    event of            not resolved
                                                                                dispute not  resolved
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               normal channels,     Charter has
                                            has launched             Channel, aa program
                                                           Solution Channel,
                                                launched Solution                 program that
                                                                                          that allows   you
                                                                                                allows you
 and the
 and  the company
           company toto efficiently
                        efficiently resolve
                                    resolve covered                        legal disputes
                                                      employment-related legal
                                            covered employment-related                               binding
                                                                                            through binding
                                                                                  disputes through
 arbitration.
 arbitration.

 By participating
 By  participating in in Solution
                         Solution Channel,     you and
                                    Channel, you    and Charter
                                                         Charter both    waive the
                                                                   both waive   the right
                                                                                     right to          or participate
                                                                                              initiate or
                                                                                           to initiate    participate
          litigation (including
    court litigation
 in court
 in                                        collective and
                                    class, collective
                       (including class,               and representative               involving aa covered
                                                                              actions) involving
                                                            representative actions)                             claim
                                                                                                      covered claim
         the right
 and/or the
 and/or        right to
                     to aa jury       involving any
                                trial involving
                           jury trial            any such
                                                      such claim.   More detailed
                                                            claim. More    detailed information     about Solution
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            Panorama.

 Thank you
 Thank you for
           for doing
               doing your
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                               to make
                                  make Charter
                                       Charter aa positive, supportive and
                                                  positive, supportive and professional place to
                                                                           professional place to
 work.    are proud
       We are
 work. We      proud of our company
                     of our          and how
                            company and  how we
                                             we behave.
                                                  behave.


  Paul Marchand
  Paul Marchand                                            Rick Dykhouse
                                                           Rick Dykhouse
  Executive Vice
  Executive Vice President,
                 President,                                Executive Vice
                                                           Executive Vice President,
                                                                          President,
  Chief Human
  Chief Human Resources
               Resources Officer
                           Officer                         General Counsel
                                                           General          and Corporate
                                                                   Counsel and  Corporate Secretary
                                                                                          Secretary



          CONFIDENTIALITY NOTICE.
 E-MAIL CONFIDENTIALITY
 E-MAIL                          NOTICE.
 The contents
 The              this e-mail
               of this
      contents of      e-mail message
                               message andand any
                                               any attachments
                                                     attachments are are intended
                                                                         intended solely   for the
                                                                                    solely for the addressee(s)
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                                                                                                                         may
 contain confidential
 contain confidential and/or
                       and/or legally              information. IfIf you
                                      privileged information.
                              legally privileged                     you are
                                                                          are not
                                                                               not the
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                                                                                       intended recipient    of this
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                     been addressed
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        this message    and any  attachments. If
                            any attachments.     If you       not the
                                                         are not
                                                    you are       the intended
                                                                       intended recipient,
                                                                                  recipient, you  are notified
                                                                                             you are   notified that
                                                                                                                 that any
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                                                                                                                          use,
                distribution, copying,
 dissemination, distribution,
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                                         or storage
                                            storage of   this message
                                                      of this  message or  or any  attachment is
                                                                              any attachment    is strictly prohibited.
                                                                                                   strictly prohibited.

 CaD
   2017 Charter
   2017 Charter Communications
                Communications
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         AFFIDAVIT OF JOHN FRIES - EXHIBIT B
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 panorama

  SOLUTION CHANNEL

  Support & Resources               Report an Issue    Solution Channel



  Solution Channel
   Charter's Program for Resolution of Employment-
   Based Legal Disputes

   Our Commitment
   Charter is committed to creating and maintaining a work environment where employees are treated
   fairly, respectfully, honestly, professionally, and with integrity.


   Dealing With Conflict in the Workplace
   Charter offers a number of ways to address work-related concerns if they arise. Charter maintains an
   Open Door Policy that allows employees to freely share ideas, make suggestions, and express
   concerns informally and without repercussion. You are encouraged to confer with your supervisor,
   another leader, or the HR team, to discuss any employment-related ideas, suggestions, or concerns.
   Ethics or compliance issues should be reported through EthicsPoint4

   Charter is confident that the vast majority of workplace conflicts will be appropriately resolved
   through less formal channels. However, we also recognize that there may be some employment-based
   disputes that are best addressed through a more structured and formal resolution process.


   Introduction to Solution Channel
   Solution Channel is a dispute resolution alternative developed by Charter, where a current employee,
   a former employee, an applicant for employment, or Charter can efficiently and privately resolve
   covered employment-based legal disputes. Solution Channel is not intended to be a substitute for the
   manner in which routine conflicts, concerns, and issues in the workplace are handled. Rather, it is
   reserved for the resolution of certain legal disputes that arise during the course of the employment
   and pre-employment relationship. Participation in Solution Channel means that you and Charter agree
https://oonaramatharter com/Solutionthannel                                            Mon Apr 30 2018 2 0145 PM
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Solution  3:24-cv-00128-WQH-BJC
         Channel                               Document 10-2     Filed 03/04/24     PageID.185 Page
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  to waive any right to participate in court litigation involving covered disputes and to arbitrate those
  disputes that are not successfully resolved following the internal review phase of the process.


  At a Glance
  Through Solution Channel, Charter is committed to reaching a mutually satisfactory resolution of
  covered legal disputes. The process involves multiple steps, any of which may result in resolution of
  the dispute. If necessary, the last step is final and binding arbitration of the dispute. Solution Channel
  offers a number of tangible benefits, including the following:

          Fair, Equitable and Speedy Resolutions. It can take years to resolve a claim in court, but
          Solution Channel offers the opportunity to have claims heard and decided by a neutral
          arbitrator within a year after a claim is filed.

           Cost Efficient. Charter pays for the arbitrator, the arbitration site, and the claim filing fees.
           The speedy resolution available through Solution Channel reduces the costs and attorneys' fees
           that might typically be incurred in court litigation,

           Direct Involvement. Claims are decided by an independent, neutral arbitrator that the
           employee and Charter jointly select from a panel of experienced arbitrators.

           Streamlined Procedures. Court litigation involves numerous hearings, depositions, and other
           proceedings, but arbitrations involve fewer steps, allowing a case to be resolved within a year of
           a claim being filed.


   Key Documents
        • Mutual Arbitration Agreement
        • Program Guidelines


   Submitting a Claim Through Solution Channel
   To utilize Solution Channel, you must submit a claim online. To submit a claim or check the status of a
   claim you previously filed, go to www.ChaderSolutionChannel.com.

   Submitted claims will first be reviewed by Charter to determine whether they are covered by Solution
   Channel. If a claim is covered by Solution Channel, it will then be reviewed internally by Charter.
   Claims not resolved at this phase in the process may proceed to arbitration.




https./ipanorernatherter,com/So1uttonChannel                                                Mon Apr 30 2018 2:0145 PM


https://panorama.charter.com/SolutionChannel                                                            4/30/2018
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         AFFIDAVIT OF
         AFFIDAVIT OF JOHN
                      JOHN FRIES
                           FRIES -- EXHIBIT
                                    EXHIBIT C
                                            C
     Case 3:24-cv-00128-WQH-BJC                              Document 10-2                   Filed 03/04/24                PageID.187                Page
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     Charter
     Charter
      COMMUNICATIONS
      COMMUNICATIONS




                                                                          NOTICE
                                                                          NOTICE

PLEASE READ
PLEASE READ THE
             THE FOLLOWING
                  FOLLOWING MUTUAL
                              MUTUAL ARBITRATION
                                      ARBITRATION AGREEMENT
                                                   AGREEMENT ("AGREEMENT")
                                                               ("AGREEMENT") CAREFULLY.
                                                                               CAREFULLY. IF
                                                                                          IF YOU
                                                                                             YOU ACCEPT
                                                                                                 ACCEPT THE
                                                                                                        THE
       OF THE
TERMS OF
TERMS     THE AGREEMENT
              AGREEMENT (WHETHER
                            (WHETHER YOU
                                     YOU ARE
                                         ARE AN
                                              AN APPLICANT,
                                                 APPLICANT, CURRENT
                                                            CURRENT EMPLOYEE,
                                                                      EMPLOYEE, OR
                                                                                 OR FORMER   EMPLOYEE), YOU
                                                                                    FORMER EMPLOYEE),   YOU
ARE AGREEING
ARE  AGREEING TO              ANY COVERED
                     SUBMIT ANY
                 TO SUBMIT         COVERED EMPLOYMENT-RELATED
                                             EMPLOYMENT-RELATED DISPUTE
                                                                     DISPUTE BETWEEN
                                                                              BETWEEN YOU     AND CHARTER
                                                                                        YOU AND    CHARTER
                    (CHARTER) TO
COMMUNICATIONS (CHARTER)
COMMUNICATIONS                 TO BINDING
                                  BINDING ARBITRATION.
                                           ARBITRATION. YOU
                                                         YOU ARE
                                                              ARE ALSO
                                                                   ALSO AGREEING
                                                                         AGREEING TO
                                                                                   TO WAIVE
                                                                                      WAIVE ANY
                                                                                              ANY RIGHT
                                                                                                   RIGHT TO
                                                                                                         TO
LITIGATE THE
LITIGATE              IN A
             DISPUTE IN
         THE DISPUTE     A COURT
                           COURT AND/OR
                                 AND/OR HAVE
                                        HAVE THE
                                              THE DISPUTE
                                                  DISPUTE DECIDED
                                                          DECIDED BY
                                                                   BY A
                                                                      A JURY.
                                                                        JURY.

                                                         ARBITRATION AGREEMENT
                                                  MUTUAL ARBITRATION
                                                  MUTUAL             AGREEMENT

A.
A.                                 You and
                    Requirement. You
      Arbitration Requirement.
      Arbitration                      and Charter
                                              Charter mutually
                                                       mutually agree
                                                                 agree that,
                                                                       that, as
                                                                              as aa condition
                                                                                     condition of of Charter
                                                                                                     Charter considering
                                                                                                               considering your
                                                                                                                             your
      application for
      application  for employment
                       employment and/or
                                   and/or your
                                           your employment
                                                employment with
                                                             with Charter,
                                                                   Charter, any
                                                                            any dispute
                                                                                dispute arising
                                                                                          arising out
                                                                                                  out of
                                                                                                      of or
                                                                                                         or relating
                                                                                                            relating to
                                                                                                                     to your
                                                                                                                        your pre-
                                                                                                                              pre-
      employment application
      employment     application and/or
                                 and/or employment
                                          employment with
                                                        with Charter
                                                             Charter or
                                                                      or the
                                                                          the termination
                                                                               termination of  of that
                                                                                                  that relationship,
                                                                                                       relationship, except
                                                                                                                       except asas
      specifically excluded
      specifically excluded below,
                            below, must
                                    must be
                                          be resolved
                                             resolved through
                                                      through binding
                                                               binding arbitration
                                                                       arbitration by
                                                                                    by aa private
                                                                                          private and
                                                                                                   and neutral
                                                                                                       neutral arbitrator,
                                                                                                                arbitrator, to
                                                                                                                            to be
                                                                                                                               be
      jointly chosen by
      jointly chosen  by you
                         you and
                             and Charter.
                                 Charter.

B.
B.    Covered Claims.
      Covered Claims. You
                      You and
                          and Charter
                              Charter mutually
                                      mutually agree
                                               agree that
                                                     that the
                                                          the following
                                                              following disputes,
                                                                        disputes, claims,
                                                                                  claims, and
                                                                                          and controversies
                                                                                              controversies (collectively
                                                                                                            (collectively
      referred to
      referred to as
                  as "covered
                     "covered claims")
                              claims") will
                                       will be
                                            be submitted
                                               submitted to
                                                         to arbitration
                                                            arbitration in
                                                                        in accordance
                                                                           accordance with
                                                                                      with this
                                                                                           this Agreement:
                                                                                                Agreement:
      1.
      1.     ail disputes,
             ail  disputes, claims,
                             claims, and
                                       and controversies
                                             controversies that that could
                                                                      could be be asserted
                                                                                     asserted in  in court
                                                                                                     court oror before
                                                                                                                 before anan administrative      agency or
                                                                                                                              administrative agency        or
             for which
             for   which you
                           you or or Charter
                                      Charter havehave an an alleged
                                                               alleged cause
                                                                           cause of        action    related
                                                                                      of action related to      to pre-employment,           employment,
                                                                                                                     pre-employment, employment,
             employment       termination or
             employment termination            or post-employment-related
                                                  post-employment-related claims,        claims, whether
                                                                                                   whether the the claims
                                                                                                                    claims are     denominated as
                                                                                                                             are denominated         as tort,
                                                                                                                                                        tort,
             contract, common
             contract,   common law,  law, oror statutory
                                                statutory claims
                                                              claims (whether
                                                                        (whether under under local,
                                                                                                 local, state
                                                                                                          state or   federal law),
                                                                                                                 or federal            including without
                                                                                                                                law), including     without
             limitation claims
             limitation                   collection of
                                    for: collection
                          claims for:                    of overpaid
                                                            overpaid wageswages and   and commissions,
                                                                                             commissions, recovery
                                                                                                                recovery of  of reimbursed
                                                                                                                                 reimbursed tuition
                                                                                                                                                 tuition oror
             relocation expense
             relocation               reimbursement, damage
                          expense reimbursement,            damage to   to or
                                                                            or loss
                                                                                loss ofof Charter
                                                                                           Charter property,
                                                                                                      property, recovery
                                                                                                                   recovery of of unauthorized
                                                                                                                                   unauthorized charges
                                                                                                                                                    charges
             on company
             on  company credit
                             credit card;    claims for
                                      card; claims    for unlawful
                                                           unlawful termination,           unlawful failure
                                                                       termination, unlawful           failure toto hire
                                                                                                                     hire or
                                                                                                                          or failure
                                                                                                                             failure toto promote,
                                                                                                                                          promote, wagewage
             and hour-based
             and                           including claims
                                  claims including
                   hour-based claims                    claims for
                                                                 for unpaid
                                                                      unpaid wages,
                                                                                  wages, commissions,
                                                                                             commissions, or    or other
                                                                                                                    other compensation
                                                                                                                           compensation or     or penalties
                                                                                                                                                  penalties
             (including meal
             (including   meal andand rest
                                        rest break
                                              break claims,
                                                      claims, claims
                                                                claims forfor inaccurate
                                                                               inaccurate wage  wage statements,
                                                                                                        statements, claims
                                                                                                                         claims for
                                                                                                                                  for reimbursement
                                                                                                                                      reimbursement of     of
             expenses); unlawful
             expenses);    unlawful discrimination
                                        discrimination or   or harassment
                                                                harassment (including
                                                                                   (including such such claims
                                                                                                         claims based
                                                                                                                   based upon
                                                                                                                            upon race,
                                                                                                                                    race, color,
                                                                                                                                           color, national
                                                                                                                                                   national
             origin, sex,
             origin,  sex, pregnancy,
                           pregnancy, age,                  sexual orientation,
                                                 religion, sexual
                                          age, religion,              orientation, disability,
                                                                                          disability, and
                                                                                                       and any
                                                                                                             any other
                                                                                                                   other prohibited
                                                                                                                           prohibited grounds),
                                                                                                                                         grounds), claims
                                                                                                                                                      claims
             for unlawful
             for  unlawful retaliation,               arising under
                                            claims arising
                             retaliation, claims               under thethe Family
                                                                              Family Medical
                                                                                         Medical Leave
                                                                                                     Leave Act,
                                                                                                             Act, Americans
                                                                                                                   Americans with with Disabilities
                                                                                                                                        Disabilities Act
                                                                                                                                                      Act or
                                                                                                                                                           or
              similar state
             similar  state laws,
                              laws, including
                                     including unlawful
                                                  unlawful denial
                                                              denial of  of or
                                                                            or interference
                                                                                 interference with  with aa leave
                                                                                                             leave ofof absence,
                                                                                                                         absence, claims
                                                                                                                                     claims for
                                                                                                                                              for unlawful
                                                                                                                                                   unlawful
              denial of
             denial   of accommodation
                         accommodation or       or failure
                                                    failure to
                                                             to engage
                                                                  engage in  in the
                                                                                 the interactive
                                                                                        interactive process,
                                                                                                        process, whistleblower
                                                                                                                    whistleblower claims,
                                                                                                                                       claims, claims
                                                                                                                                                 claims for
                                                                                                                                                          for
             violations of
             violations   of the
                             the Sarbanes-Oxley
                                   Sarbanes-Oxley Act,  Act, claims
                                                              claims forfor violations
                                                                             violations of   of Occupational
                                                                                                 Occupational Safety
                                                                                                                   Safety and
                                                                                                                            and Health
                                                                                                                                  Health Administration
                                                                                                                                           Administration
              or other
             or  other safety
                         safety or or occupational
                                       occupational health,
                                                         health, whether
                                                                   whether arisingarising before,
                                                                                              before, during
                                                                                                         during oror after
                                                                                                                       after the    termination of
                                                                                                                              the termination       of your
                                                                                                                                                        your
              employment, claims
             employment,       claims related
                                        related toto background
                                                      background and  and anyany andand allall other
                                                                                               other pre-employment
                                                                                                       pre -employment and    and employment
                                                                                                                                    employment checks,
                                                                                                                                                     checks,
              including any
             including   any claims
                               claims brought
                                       brought under
                                                   under the
                                                           the Fair
                                                                 Fair Credit
                                                                      Credit Reporting
                                                                                 Reporting Act  Act and/or
                                                                                                     and/or similar
                                                                                                              similar federal,
                                                                                                                        federal, state
                                                                                                                                   state or
                                                                                                                                          or local
                                                                                                                                             local statutes
                                                                                                                                                    statutes
              or ordinances;
             or ordinances;
      2.
      2.     all disputes,
             all disputes, claims,
                            claims, and
                                     and controversies
                                         controversies setset forth
                                                              forth in
                                                                     in Section
                                                                        Section B.1
                                                                                 B.1 above,
                                                                                      above, whether
                                                                                               whether made
                                                                                                        made against
                                                                                                               against Charter,  or any
                                                                                                                       Charter, or  any
             of its
             of   its subsidiaries,
                      subsidiaries, parent,
                                    parent, oror affiliated
                                                 affiliated entities,
                                                             entities, or
                                                                       or its
                                                                          its individual
                                                                              individual officers,
                                                                                           officers, directors,
                                                                                                     directors, shareholders,
                                                                                                                shareholders, agents,
                                                                                                                                agents,
             managers, or
             managers,    or employees
                              employees (in
                                          (in an
                                              an official
                                                 official or
                                                          or personal
                                                             personal capacity,
                                                                        capacity, if
                                                                                  if such
                                                                                     such claim
                                                                                          claim against
                                                                                                 against the
                                                                                                         the employee   arises from
                                                                                                              employee arises  from or
                                                                                                                                     or
             in any
             in  any way
                      way relates
                           relates to
                                   to your
                                      your pre-employment
                                            pre-employment or   or employment
                                                                    employment relationship
                                                                                   relationship with
                                                                                                 with Charter);
                                                                                                      Charter); and
                                                                                                                and

      1
      3.     all disputes
             all                  to the
                          related to
                 disputes related    the arbitrability
                                         arbitrability of
                                                       of any
                                                          any claim
                                                              claim or
                                                                    or controversy.
                                                                       controversy.
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         2017 Charter Communications
              Charter Communications                                                                                   Version Date
                                                                                                                       Version Date — September 25,
                                                                                                                                    — September 25, 2017
                                                                                                                                                    2017
                                                                                                                                                          11
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      Charter
      Charter
      COMMUNICATIONS
      COMMUNICATIONS




C.
C.    Excluded Claims.
      Excluded Claims. All
                       All other
                           other claims
                                 claims not
                                        not covered
                                            covered under
                                                     under Section
                                                           Section BB above
                                                                       above will
                                                                             will not
                                                                                  not be
                                                                                      be submitted
                                                                                         submitted to
                                                                                                   to arbitration
                                                                                                       arbitration under
                                                                                                                   under this
                                                                                                                         this
      Agreement. In
      Agreement.               the following
                     addition, the
                  In addition,     following claims
                                             claims are
                                                    are specifically
                                                        specifically excluded
                                                                     excluded from
                                                                              from arbitration
                                                                                    arbitration under
                                                                                                under this
                                                                                                      this Agreement:
                                                                                                           Agreement:
      1.
      1.     Claims for
             Claims for workers'
                        workers' compensation
                                 compensation benefits
                                              benefits (other
                                                       (other than
                                                              than retaliation
                                                                   retaliation for
                                                                               for pursuing
                                                                                   pursuing such
                                                                                            such claims);
                                                                                                 claims);
      2.
      2.     Claims for
             Claims for unemployment
                        unemployment compensation
                                     compensation benefits
                                                  benefits (other
                                                           (other than
                                                                  than retaliation
                                                                       retaliation for
                                                                                   for pursuing
                                                                                       pursuing such
                                                                                                such claims);
                                                                                                     claims);
      3.
      3.     Claims arising
             Claims arising under
                            under the National Labor
                                  the National Labor Relations
                                                     Relations Act;
                                                               Act;
      4.
      4.     Claims for
             Claims for violations
                         violations of
                                    of the Employee Retirement
                                       the Employee               Income Security
                                                      Retirement Income   Security Act
                                                                                    Act of
                                                                                        of 1974,
                                                                                           1974, or
                                                                                                 or for
                                                                                                    for breach
                                                                                                        breach of
                                                                                                                of employee
                                                                                                                   employee
             benefits or
             benefits or welfare
                         welfare plans
                                  plans that
                                        that contain
                                             contain procedures
                                                     procedures for
                                                                for resolution
                                                                    resolution of
                                                                               of disputes
                                                                                  disputes under
                                                                                           under those
                                                                                                 those plans,
                                                                                                        plans, which
                                                                                                               which shall
                                                                                                                     shall be
                                                                                                                           be
             governed by
             governed  by those
                           those procedures;
                                  procedures;
      5.
      S.     Claims arising
             Claims arising under
                            under the
                                  the Health
                                      Health Insurance
                                             Insurance Portability
                                                       Portability and
                                                                   and Accountability
                                                                       Accountability Act
                                                                                      Act of
                                                                                          of 1996;
                                                                                             1996;
      6.
      6.     Claims for
             Claims                or other
                        injunctive or
                    for injunctive             equitable relief
                                        other equitable   relief related
                                                                 related toto unfair
                                                                              unfair competition
                                                                                     competition and
                                                                                                 and the
                                                                                                     the taking,
                                                                                                         taking, use
                                                                                                                 use or
                                                                                                                     or
             unauthorized disclosure
             unauthorized disclosure of
                                     of trade
                                        trade secrets
                                              secrets or
                                                      or confidential
                                                         confidential information;
                                                                       information;
      7.
      7.     Claims arising
             Claims arising under
                            under separation   or severance
                                   separation or  severance agreements
                                                            agreements or
                                                                       or non-compete
                                                                          non -compete agreements (unless arbitration
                                                                                       agreements (unless arbitration is
                                                                                                                      is
             provided for
             provided  for under     terms of
                                 the terms
                           under the        of the
                                               the agreement);
                                                   agreement);
      8.
      8.     Claims related
             Claims related to
                            to corrective
                               corrective action
                                          action or
                                                 or other
                                                    other performance
                                                          performance management
                                                                      management that
                                                                                 that does
                                                                                      does not
                                                                                           not result
                                                                                               result in
                                                                                                      in termination
                                                                                                         termination of
                                                                                                                     of
             employment;
             employment;
      9.
      9.     Claims older
             Claims older than
                          than the
                               the statute
                                   statute of
                                           of limitations
                                              limitations applicable
                                                          applicable to
                                                                     to such
                                                                        such claims;
                                                                             claims;
      10.
      10.    Claims of
             Claims of theft
                       theft or
                             or embezzlement or any
                                embezzlement or any criminal
                                                    criminal conduct;
                                                             conduct;
      11.
      11.    Claims over
             Claims over the
                         the validity
                             validity of
                                      of any
                                         any party's
                                             party's intellectual
                                                     intellectual property
                                                                  property rights;
                                                                           rights;
      12.
      12.    Any claims
             Any claims covered   by aa collective
                         covered by                 bargaining agreement,
                                        collective bargaining  agreement, aa severance
                                                                               severance agreement,    or aa written
                                                                                           agreement, or              employment
                                                                                                             written employment
             contract (although
             contract            nothing in
                      (although nothing    in this
                                              this Agreement
                                                   Agreement shall
                                                               shall limit
                                                                     limit the  applicability of
                                                                           the applicability  of any
                                                                                                 any arbitration  or other
                                                                                                     arbitration or other dispute
                                                                                                                           dispute
             resolution provision
             resolution           contained in
                        provision contained    in those
                                                  those agreements);
                                                        agreements);
      13.
      13.        claims expressly
             Any claims
             Any        expressly non-arbitrable
                                  non -arbitrable by
                                                  by statute,
                                                     statute, including
                                                              including 12
                                                                        12 U.S.C.
                                                                           U.S.C. §5567(d)(2);
                                                                                  §5567(d)(2); 77 U.S.C.
                                                                                                  U.S.C. §26(n);
                                                                                                         §26(n); or
                                                                                                                 or 18
                                                                                                                    18 U.S.C.
                                                                                                                       U.S.C.
             §1514A(e)(2);
             §1514A(e)(2);
      14.
      14.    Any claims
             Any claims that
                        that have
                             have already
                                   already been
                                           been filed
                                                filed in
                                                      in federal
                                                         federal or
                                                                 or state
                                                                     state court
                                                                           court at
                                                                                  at the
                                                                                     the time
                                                                                         time you
                                                                                              you execute
                                                                                                  execute this
                                                                                                          this Agreement,
                                                                                                               Agreement,
             provided that
             provided that such
                           such claims
                                claims were
                                       were not previously subject
                                            not previously  subject to
                                                                    to any  arbitration agreement.
                                                                       any arbitration  agreement.
      Nothing in
      Nothing  in this            shall prevent
                       Agreement shall
                  this Agreement        prevent you
                                                  you from
                                                        from filing
                                                              filing and
                                                                      and pursuing
                                                                          pursuing thethe following:
                                                                                           following: an
                                                                                                       an administrative
                                                                                                          administrative proceeding
                                                                                                                           proceeding
      before the
      before the Equal                Opportunity     Commission
                         Employment Opportunity Commission (EEOC)
                   Equal Employment                                           or an  equivalent   state
                                                                      (EEOC) or an equivalent state or            agency  (although
                                                                                                            local agency (although if
                                                                                                         or local                     if
      you choose
      you  choose toto pursue
                       pursue the         any proceeding
                                  claim, any
                              the claim,       proceeding on on thethe merits
                                                                        merits or
                                                                               or for
                                                                                   for damages
                                                                                        damages will
                                                                                                   will be
                                                                                                        be subject   to arbitration); aa
                                                                                                            subject to arbitration);
      proceeding before
      proceeding   before the
                          the National  Labor Relations
                              National Labor   Relations Board
                                                           Board (NLRB);
                                                                    (NLRB); aa claim
                                                                               claim for
                                                                                       for medical
                                                                                           medical andjor
                                                                                                    and/or disability   benefits under
                                                                                                             disability benefits under
      applicable workers'
      applicable  workers' compensation
                           compensation laws;
                                           laws; or
                                                 or aa claim
                                                       claim for
                                                             for unemployment
                                                                   unemployment compensation
                                                                                     compensation benefits.
                                                                                                      benefits.

D. Individual
D. Individual Claims
               Claims Limitation
                        Limitation and
                                     and Representative,
                                          Representative, Collective,
                                                            Collective, and
                                                                         and Class
                                                                              Class Action
                                                                                     Action Waiver.
                                                                                              Waiver. You
                                                                                                      You and
                                                                                                           and Charter
                                                                                                                Charter agree
                                                                                                                          agree that
                                                                                                                                  that
   both parties
   both  parties may
                  may only
                       only bring
                            bring claims
                                    claims against
                                            against the
                                                    the other
                                                         other party
                                                                party in
                                                                      in their
                                                                         their individual
                                                                               individual capacity
                                                                                            capacity and
                                                                                                     and not
                                                                                                          not as
                                                                                                              as aa plaintiff
                                                                                                                    plaintiff or
                                                                                                                              or class
                                                                                                                                 class
   member in
   member    in any
                any purported
                    purported class
                                class or
                                       or representative
                                          representative proceeding,
                                                          proceeding, whether
                                                                         whether those
                                                                                  those claims
                                                                                          claims are
                                                                                                 are covered
                                                                                                     covered claims
                                                                                                              claims under
                                                                                                                      under Section
                                                                                                                              Section
   B, or
   B, or excluded
         excluded claims
                    claims under
                           under Section
                                    Section C.
                                             C. Additionally,
                                                Additionally, the
                                                               the arbitrator
                                                                   arbitrator shall
                                                                                shall not
                                                                                      not be
                                                                                           be permitted
                                                                                              permitted to
                                                                                                         to order
                                                                                                            order consolidation
                                                                                                                    consolidation ofof
          or aa representative,
   claims or
   claims       representative, class,
                                  class, or
                                         or collective,
                                            collective, arbitration.
                                                        arbitration.



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              Date —
      Version Date
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     Charter
     Charter
      COMMUNICATIONS
      COMMUNICATIONS




E.
E.    Time Limits.
      Time   Limits. The
                      The aggrieved
                            aggrieved party
                                         party must
                                                  must give
                                                         give written
                                                              written notice
                                                                         notice of
                                                                                of the
                                                                                    the claim,
                                                                                           claim, in
                                                                                                  in the
                                                                                                     the manner
                                                                                                           manner required
                                                                                                                    required by
                                                                                                                              by this
                                                                                                                                 this Agreement,
                                                                                                                                      Agreement,
      within the
      within  the time    limit established
                   time limit   established by    by the
                                                     the applicable
                                                          applicable statute
                                                                        statute of
                                                                                of limitations
                                                                                     limitations for
                                                                                                   for each
                                                                                                        each legal
                                                                                                              legal claim
                                                                                                                    claim being
                                                                                                                           being asserted.
                                                                                                                                 asserted. ToTo bebe
      timely, any
      timely,  any claim
                    claim that
                            that must
                                 must be be filed
                                              filed with
                                                    with anan administrative
                                                              administrative agency
                                                                                agency or   or body
                                                                                               body as     precondition or
                                                                                                     as aa precondition   or prerequisite
                                                                                                                             prerequisite to
                                                                                                                                          to filing
                                                                                                                                              filing
      the claim
      the  claim in
                  in court,
                      court, must
                              must bebe filed
                                          filed with
                                                  with Solution
                                                       Solution Channel
                                                                    Channel within
                                                                              within thethe time
                                                                                             time period
                                                                                                   period byby which
                                                                                                                which the
                                                                                                                       the charge,
                                                                                                                            charge, complaint
                                                                                                                                     complaint or or
      other similar
      other  similar document
                      document would
                                  would have have had
                                                    had to
                                                         to be
                                                             be filed
                                                                filed with
                                                                       with the
                                                                            the agency
                                                                                agency or   or other
                                                                                               other administrative
                                                                                                      administrative body.
                                                                                                                       body. Whether
                                                                                                                              Whether aa demand
                                                                                                                                          demand
      for arbitration
      for arbitration isis untimely
                           untimely is is an   affirmative defense,
                                          an affirmative     defense, andand will
                                                                              will be
                                                                                   be decided
                                                                                       decided by by the
                                                                                                      the arbitrator
                                                                                                           arbitrator before
                                                                                                                      before any
                                                                                                                              any hearing
                                                                                                                                   hearing on
                                                                                                                                            on the
                                                                                                                                                 the
      merits of
      merits  of the
                 the aggrieved
                       aggrieved party's       claim. If
                                   party's claim.       If you
                                                           you file
                                                                file aa charge
                                                                        charge or
                                                                               or complaint
                                                                                    complaint withwith an
                                                                                                        an administrative
                                                                                                            administrative agency
                                                                                                                             agency or
                                                                                                                                     or body,
                                                                                                                                        body, any
                                                                                                                                                any
      participation by
      participation    by Charter
                           Charter in
                                    in the     proceeding shall
                                        the proceeding       shall not
                                                                    not be
                                                                         be deemed
                                                                            deemed aa waiver
                                                                                           waiver ofof your
                                                                                                       your obligation
                                                                                                             obligation to
                                                                                                                         to arbitrate
                                                                                                                            arbitrate your
                                                                                                                                      your claims
                                                                                                                                            claims
      pursuant to
      pursuant   to this
                     this Agreement.
                           Agreement. You         agree not
                                            You agree     not to
                                                              to assert,
                                                                  assert, and
                                                                           and agree
                                                                               agree to  to waive,
                                                                                            waive, any
                                                                                                    any argument
                                                                                                          argument that
                                                                                                                     that Charter's
                                                                                                                           Charter's participation
                                                                                                                                     participation
      in such
      in         proceeding acts
         such aa proceeding     acts as
                                      as aa waiver
                                             waiver oror modification
                                                          modification of of the
                                                                             the parties'
                                                                                  parties' agreement
                                                                                              agreement to to arbitrate.
                                                                                                              arbitrate.

F.
F.    Claim. To
      Claim.   To pursue    arbitration of
                   pursue arbitration     of aa dispute
                                                 dispute under
                                                             under this
                                                                     this Agreement,
                                                                           Agreement, you  you must
                                                                                                 must first
                                                                                                        first submit
                                                                                                              submit aa written
                                                                                                                         written claim
                                                                                                                                    claim at
                                                                                                                                           at
      www.CharterSolutionChannel.com, aa site
      www.CharterSolutionChannel.com,             site hosted
                                                       hosted by      third party
                                                                by aa third  party designated
                                                                                    designated by by Charter.
                                                                                                     Charter. In
                                                                                                               In your
                                                                                                                  your claim,
                                                                                                                       claim, you
                                                                                                                                you must
                                                                                                                                    must (1)
                                                                                                                                          (1)
      describe the
      describe  the nature
                     nature and
                             and basis
                                  basis of
                                        of the  claim or
                                            the claim   or dispute,
                                                            dispute, (2)
                                                                      (2) set
                                                                          set forth
                                                                              forth the
                                                                                     the specific
                                                                                          specific relief
                                                                                                   relief sought,
                                                                                                           sought, and
                                                                                                                   and (3)
                                                                                                                       (3) include
                                                                                                                           include aa sworn
                                                                                                                                       sworn
      verification that
      verification  that the
                          the dispute
                               dispute is
                                        is covered
                                           covered by by this
                                                           this Agreement
                                                                Agreement and  and that
                                                                                     that the
                                                                                           the information
                                                                                                information submitted
                                                                                                               submitted inin the
                                                                                                                               the notice
                                                                                                                                    notice is
                                                                                                                                            is
      accurate. In
      accurate.   In the
                     the event
                          event that
                                 that Charter
                                      Charter intends
                                                intends toto seek
                                                              seek arbitration
                                                                    arbitration ofof aa dispute
                                                                                        dispute under
                                                                                                 under this
                                                                                                         this Agreement,
                                                                                                              Agreement, it it must
                                                                                                                               must send
                                                                                                                                     send by
                                                                                                                                           by
      certified mail
      certified mail to
                      to the
                         the individual's
                             individual's last
                                           last known
                                                known address,
                                                         address, aa written
                                                                       written claim
                                                                                claim that
                                                                                        that meets
                                                                                             meets the
                                                                                                     the requirements
                                                                                                          requirements ofof this
                                                                                                                             this Section
                                                                                                                                  Section F.
                                                                                                                                          F.

G. Location.
G. Location. Any
              Any arbitration
                  arbitration hearing
                               hearing conducted
                                       conducted under
                                                  under this
                                                        this Agreement
                                                             Agreement willwill take
                                                                                take place
                                                                                      place within   100 miles
                                                                                             within 100  miles of
                                                                                                               of the
                                                                                                                  the Charter
                                                                                                                      Charter
   office to
   office to which
             which you
                   you last           during your
                             reported during
                        last reported        your employment
                                                  employment as as of
                                                                    of the
                                                                       the date
                                                                           date ofof the
                                                                                     the filing
                                                                                         filing of
                                                                                                of the
                                                                                                   the Notice,
                                                                                                       Notice, or
                                                                                                               or the
                                                                                                                  the Charter
                                                                                                                      Charter
   office at
   office at which
             which you
                   you sought   employment, unless
                       sought employment,    unless another
                                                    another location
                                                             location is
                                                                       is mutually
                                                                          mutually selected
                                                                                    selected byby the
                                                                                                  the parties.
                                                                                                      parties.

H. Selection
H. Selection of
             of Arbitrator. The arbitration
                Arbitrator. The                  shall be
                                  arbitration shall    be held
                                                           held before
                                                                  before one
                                                                          one arbitrator         is aa current
                                                                                            who is
                                                                                arbitrator who                 member of
                                                                                                       current member     of the
                                                                                                                             the American
                                                                                                                                  American
   Arbitration Association
   Arbitration Association (MA)
                             (AAA) and
                                    and is is listed
                                              listed on
                                                      on the
                                                           the Employment
                                                                 Employment Dispute
                                                                                 Dispute Resolution
                                                                                            Resolution Roster.       Within 45
                                                                                                          Roster. Within     45 days
                                                                                                                                 days after
                                                                                                                                      after
               of the
   submission of
   submission     the claim,
                      claim, Charter
                              Charter will
                                       will request
                                             request from
                                                       from thethe AAA
                                                                    AAA aa list
                                                                           list of
                                                                                of at
                                                                                   at least
                                                                                      least five
                                                                                            five arbitrators
                                                                                                 arbitrators willing
                                                                                                               willing to
                                                                                                                       to hear
                                                                                                                          hear and
                                                                                                                                and decide
                                                                                                                                    decide
                 Within 20
       dispute. Within
   the dispute.
   the                   20 days
                             days after
                                   after receipt
                                          receipt ofof the
                                                        the list
                                                             list from
                                                                  from the
                                                                        the AAA,
                                                                              AAA, the
                                                                                    the parties
                                                                                         parties will
                                                                                                  will select
                                                                                                        select an
                                                                                                               an arbitrator
                                                                                                                   arbitrator to
                                                                                                                               to hear
                                                                                                                                  hear and
                                                                                                                                       and
   resolve the
   resolve the dispute
               dispute and        notify the
                             will notify
                        and will         the AAA
                                               AAA ofof the
                                                         the selection
                                                              selection ofof an
                                                                             an arbitrator.
                                                                                 arbitrator.

I.    Conduct of
      Conduct of Arbitration.
                 Arbitration.
      1.
      1.      Rules. Arbitration
              Rules. Arbitration hearings
                                  hearings will
                                           will be
                                                be conducted
                                                   conducted pursuant
                                                              pursuant to
                                                                       to the
                                                                          the Solution
                                                                              Solution Channel
                                                                                       Channel Program
                                                                                                 Program Guidelines
                                                                                                          Guidelines and
                                                                                                                      and the
                                                                                                                           the
              arbitrator shall
              arbitrator shall have
                               have the
                                    the sole
                                        sole authority
                                             authority to
                                                       to determine
                                                          determine whether
                                                                    whether aa particular
                                                                               particular claim
                                                                                          claim or
                                                                                                or controversy
                                                                                                   controversy is
                                                                                                               is arbitrable.
                                                                                                                  arbitrable.
      2.
      2.      Authority of
              Authority  of the
                            the Arbitrator.
                                 Arbitrator. The
                                             The arbitrator
                                                  arbitrator will
                                                             will decide
                                                                  decide all
                                                                           all discovery
                                                                               discovery disputes
                                                                                           disputes related
                                                                                                     related to
                                                                                                              to the
                                                                                                                 the arbitration.
                                                                                                                      arbitration. Unless
                                                                                                                                    Unless
              the parties
              the  parties agree
                           agree to
                                  to submit
                                     submit written
                                             written arguments
                                                     arguments in in lieu
                                                                     lieu of
                                                                          of aa hearing
                                                                                hearing onon the
                                                                                              the merits
                                                                                                  merits of
                                                                                                          of the
                                                                                                             the claim[s],
                                                                                                                  claim[sj, the
                                                                                                                            the arbitrator
                                                                                                                                arbitrator
              will schedule
              will schedule and
                              and conduct
                                   conduct anan evidentiary
                                                evidentiary hearing,
                                                             hearing, at at which
                                                                            which thethe arbitrator
                                                                                          arbitrator will
                                                                                                      will hear
                                                                                                           hear testimony
                                                                                                                 testimony andand receive
                                                                                                                                   receive
              evidence.   The  arbitrator shall apply the governing    law  applicable   to  any substantive   claim  asserted,
              evidence. The arbitrator shall apply the governing law applicable to any substantive claim asserted, including     including
              the applicable
              the  applicable law
                               law necessary
                                    necessary to
                                              to determine
                                                  determine when
                                                             when thethe claim
                                                                          claim arose
                                                                                  arose and
                                                                                        and anyany damages.
                                                                                                   damages.
      3.
      3.       Waiver of
              Waiver  of Hearing.
                         Hearing. The
                                   The parties
                                       parties may,
                                               may, at
                                                    at any
                                                       any time
                                                           time prior
                                                                prior to
                                                                      to aa hearing,
                                                                             hearing, mutually
                                                                                      mutually agree
                                                                                               agree to
                                                                                                     to forego
                                                                                                        forego aa hearing,
                                                                                                                  hearing, and
                                                                                                                           and
              instead submit
              instead submit all
                             all evidence
                                 evidence and
                                          and argument
                                               argument to
                                                         to the
                                                            the arbitrator
                                                                arbitrator in
                                                                            in writing.
                                                                               writing.
      4.
      4.             of Proof.
              Burden of
              Burden           The arbitrator
                        Proof. The  arbitrator will
                                               will apply
                                                    apply the
                                                          the burdens
                                                              burdens of
                                                                      of proof
                                                                         proof and
                                                                               and law
                                                                                   law applicable to the
                                                                                       applicable to the claim,
                                                                                                         claim, had
                                                                                                                had the claim
                                                                                                                    the claim
                                in court.
                   adjudicated in
              been adjudicated
              been                 court.
      5.
      5.      Decision. The
              Decision.  The arbitrator
                             arbitrator will
                                        will issue
                                             issue aa decision
                                                      decision within
                                                               within 30
                                                                      30 days
                                                                           days after
                                                                                after the
                                                                                      the close
                                                                                          close of
                                                                                                of an
                                                                                                    an arbitration
                                                                                                       arbitration hearing,
                                                                                                                   hearing, or
                                                                                                                             or at
                                                                                                                                at aa
              later time
              later time on
                         on which
                            which the
                                   the parties
                                       parties agree.
                                               agree. The
                                                       The decision
                                                            decision will
                                                                     will be
                                                                          be signed
                                                                             signed and
                                                                                    and dated
                                                                                         dated by
                                                                                                by the
                                                                                                   the arbitrator,
                                                                                                       arbitrator, and
                                                                                                                   and will
                                                                                                                       will contain
                                                                                                                            contain


                                                                                                                                                 13
                                                                                                                                                 13
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      Charter
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              express findings
              express findings of
                               of fact
                                  fact and
                                       and the legal reasons
                                           the legal          for the
                                                      reasons for the decision
                                                                      decision and
                                                                               and any
                                                                                   any award,
                                                                                       award, except
                                                                                              except as
                                                                                                     as otherwise
                                                                                                        otherwise provided
                                                                                                                  provided
              for under
              for under the
                        the Federal
                            Federal Arbitration
                                    Arbitration Act.
                                                 Act.

J.
J.    Enforcement of
      Enforcement  of the
                      the Decision.
                          Decision. Judgment
                                    Judgment onon the
                                                   the arbitrator's
                                                       arbitrator's decision
                                                                    decision may
                                                                             may be
                                                                                 be entered
                                                                                    entered in
                                                                                            in any court having
                                                                                               any court having jurisdiction
                                                                                                                jurisdiction
      over the
      over the matter,
               matter, within
                       within 45
                              45 days
                                 days following
                                      following its
                                                its issuance.
                                                    issuance.

K.
K.    Arbitration Costs.
      Arbitration    Costs. Charter
                               Charter will
                                          will pay
                                                pay thethe AAA
                                                            AAA administrative
                                                                  administrative fees
                                                                                    fees and
                                                                                           and the
                                                                                               the arbitrator's
                                                                                                    arbitrator's fees   and expenses.
                                                                                                                  fees and    expenses. Ail
                                                                                                                                          All other
                                                                                                                                               other
      costs, fees
      costs,  fees and
                    and expenses
                          expenses associated
                                       associated with  with the
                                                              the arbitration,
                                                                   arbitration, including
                                                                                 including without     limitation each
                                                                                              without limitation    each party's
                                                                                                                          party's attorneys'
                                                                                                                                   attorneys' fees,
                                                                                                                                                fees,
      will be
      will     borne by
           be borne     by the
                           the party
                                party incurring
                                        incurring the the costs,       and expenses.
                                                                  fees and
                                                           costs, fees       expenses. The The parties
                                                                                               parties agree
                                                                                                        agree and
                                                                                                               and acknowledge,
                                                                                                                    acknowledge, however,
                                                                                                                                     however, that
                                                                                                                                                 that
      the failure
      the  failure or
                    or refusal   of either
                        refusal of   either party
                                              party to    submit to
                                                       to submit   to arbitration
                                                                      arbitration asas required
                                                                                       required byby this
                                                                                                     this Agreement
                                                                                                           Agreement will
                                                                                                                        will constitute
                                                                                                                             constitute aa material
                                                                                                                                           material
      breach of
      breach    of this
                   this Agreement.
                         Agreement. If    If any
                                             any judicial
                                                  judicial action
                                                             action or   proceeding is
                                                                      or proceeding        commenced in
                                                                                        is commenced      in order
                                                                                                             order to
                                                                                                                    to compel
                                                                                                                       compel arbitration,
                                                                                                                                arbitration, and
                                                                                                                                               and if
                                                                                                                                                    if
      arbitration is
      arbitration   is in
                       in fact
                          fact compelled
                                compelled or   or the
                                                  the party
                                                         party resisting
                                                               resisting arbitration    submits to
                                                                          arbitration submits     to arbitration
                                                                                                     arbitration following
                                                                                                                  following the
                                                                                                                              the commencement
                                                                                                                                  commencement
      of the
      of the action
               action oror proceeding,
                            proceeding, the the party
                                                  party that
                                                          that resisted
                                                                resisted arbitration
                                                                           arbitration will
                                                                                         will be
                                                                                              be required
                                                                                                 required to to pay
                                                                                                                pay to
                                                                                                                     to the
                                                                                                                        the other
                                                                                                                             other party
                                                                                                                                    party all
                                                                                                                                           all costs,
                                                                                                                                               costs,
      fees  and  expenses     that
      fees and expenses that they   they   incur
                                           incur   in
                                                  in   compelling
                                                       compelling    arbitration,
                                                                     arbitration,  including,
                                                                                   including,  without
                                                                                               without   limitation,
                                                                                                         limitation,  reasonable
                                                                                                                      reasonable   attorneys'
                                                                                                                                   attorneys'   fees.
                                                                                                                                                fees,

L.
L.    Jury Trial
      Jury  Trial and
                  and Litigation    Waiver. You
                        Litigation Waiver.      You andand Charter
                                                             Charter understand
                                                                       understand that,
                                                                                      that, by
                                                                                            by agreeing   to arbitration,
                                                                                                agreeing to  arbitration, both
                                                                                                                          both parties
                                                                                                                                 parties are
                                                                                                                                          are
      waiving  their  right to  demand   a  jury  in  any  claim  that   is subject  to arbitration under  this Agreement.
      waiving their right to demand a jury in any claim that is subject to arbitration under this Agreement. In addition, in  In addition,  in
           event aa dispute
      the event
      the           dispute between     you    and  Charter    is not  arbitrable
                              between you and Charter is not arbitrable under       under this
                                                                                           this Agreement   for  any
                                                                                                Agreement for any reason     and  is pursued
                                                                                                                     reason and is pursued
      in court,
      in court, you
                you and
                     and Charter
                           Charter agree       waive any
                                           to waive
                                    agree to            any right
                                                             right to
                                                                   to aa jury
                                                                         jury trial
                                                                              trial that
                                                                                    that might
                                                                                         might otherwise
                                                                                                otherwise exist.
                                                                                                           exist. Although
                                                                                                                  Although this
                                                                                                                            this Agreement
                                                                                                                                 Agreement
      does not
      does   not preclude
                 preclude either            from filing
                                    party from
                             either party          filing timely
                                                           timely charges
                                                                   charges with
                                                                              with any
                                                                                     any applicable
                                                                                         applicable administrative
                                                                                                     administrative agency,
                                                                                                                      agency, neither
                                                                                                                               neither party
                                                                                                                                        party
      will ever
      will ever seek
                seek oror accept
                          accept any
                                  any damages,
                                      damages, remedies,
                                                    remedies, or  or other
                                                                     other relief
                                                                             relief (any
                                                                                    (any right
                                                                                         right to
                                                                                               to which
                                                                                                  which is
                                                                                                        is hereby
                                                                                                           hereby waived)
                                                                                                                   waived) except
                                                                                                                            except through
                                                                                                                                     through
      the binding
      the  binding arbitration
                    arbitration process
                                  process set
                                           set forth
                                                forth inin this
                                                           this Agreement.
                                                                 Agreement.

M. Conflicts.
M. Conflicts. In
              In the
                 the event
                     event of
                            of aa conflict         this Agreement
                                           between this
                                  conflict between      Agreement and
                                                                  and the
                                                                      the Solution
                                                                          Solution Channel
                                                                                   Channel Program
                                                                                           Program Guidelines,
                                                                                                   Guidelines, the
                                                                                                               the terms
                                                                                                                   terms
   of this
   of this Agreement
           Agreement will   control.
                       will control.

N. No
N. No Retaliation.
      Retaliation. Charter
                   Charter will
                           will not
                                not retaliate         you for
                                              against you
                                    retaliate against     for seeking,
                                                              seeking, in
                                                                       in good
                                                                          good faith,
                                                                               faith, to
                                                                                      to resolve
                                                                                         resolve aa dispute
                                                                                                    dispute pursuant
                                                                                                            pursuant to
                                                                                                                     to this
                                                                                                                        this
   Agreement.
   Agreement.

                         This Agreement
   Employment-At-Will. This
0. Employment-At-Will.
0.                             Agreement in  in no
                                                no way
                                                   way alters
                                                        alters the
                                                               the at-will
                                                                   at-will employment
                                                                           employment relationship
                                                                                         relationship between
                                                                                                        between you
                                                                                                                 you and
                                                                                                                      and
   Charter. You
   Charter. You and
                and Charter
                    Charter are
                             are free
                                 free to
                                      to terminate
                                         terminate the  employment relationship
                                                    the employment   relationship at
                                                                                  at any
                                                                                     any time
                                                                                         time for
                                                                                               for any
                                                                                                   any lawful
                                                                                                       lawful reason,
                                                                                                              reason, and
                                                                                                                      and
   your employment
   your employment is
                    is not
                       not for
                           for any
                               any specific
                                    specific duration.
                                             duration.

P.
P.    Entire Agreement.
      Entire Agreement. This
                           This Agreement
                                Agreement sets
                                            sets for
                                                 for the
                                                      the complete
                                                           complete agreement
                                                                     agreement ofof the
                                                                                    the parties
                                                                                         parties on
                                                                                                 on the
                                                                                                     the subject
                                                                                                         subject of
                                                                                                                 of resolution
                                                                                                                    resolution of
                                                                                                                                of
      the covered
      the covered disputes,
                    disputes, and
                              and supersedes
                                   supersedes any
                                              any prior
                                                   prior or
                                                          or contemporaneous
                                                             contemporaneous oraloral or
                                                                                      or written
                                                                                         written understanding
                                                                                                  understanding on
                                                                                                                 on this
                                                                                                                      this subject;
                                                                                                                           subject;
      provided, however,
      provided, however, that
                           that this
                                 this Agreement
                                      Agreement will
                                                 will not
                                                       not apply
                                                           apply to
                                                                 to the
                                                                    the resolution
                                                                        resolution of
                                                                                   of any
                                                                                      any charges,   complaints, or
                                                                                           charges, complaints,  or lawsuits
                                                                                                                     lawsuits that
                                                                                                                              that
      have been
      have  been filed with an
                 filed with an administrative
                                administrative agency
                                               agency oror court
                                                            court before
                                                                  before the
                                                                         the Effective
                                                                             Effective Date
                                                                                       Date of
                                                                                             of this
                                                                                                this Agreement.
                                                                                                     Agreement.

                  The parties
   Severability. The
Q. Severability.
Q.                    parties explicitly
                               explicitly acknowledge
                                           acknowledge andand agree
                                                              agree that
                                                                     that the  provisions of
                                                                           the provisions     of this  Agreement are
                                                                                                 this Agreement      are both
                                                                                                                         both reasonable
                                                                                                                                 reasonable
   and  enforceable.   However,    if any portion  or provision of this Agreement      (including,    without  implication
   and enforceable. However, if any portion or provision of this Agreement (including, without implication of limitation,      of limitation,
   any portion
   any  portion or
                 or provision
                    provision of
                               of any
                                   any section
                                        section of  this Agreement)
                                                 of this Agreement) is    determined      to  be  illegal, invalid, or unenforceable
                                                                       is determined to be illegal, invalid, or unenforceable by            by
   any court
   any  court of
              of competent
                 competent jurisdiction
                              jurisdiction and
                                             and cannot
                                                  cannot be   modified to
                                                          be modified    to be
                                                                            be legal,
                                                                               legal, valid,
                                                                                       valid, oror enforceable,
                                                                                                    enforceable, the
                                                                                                                   the remainder
                                                                                                                        remainder of   of this
                                                                                                                                          this
   Agreement shall
   Agreement    shall not
                       not be
                           be affected
                               affected by  by such
                                               such determination
                                                     determination andand shall
                                                                            shall be
                                                                                  be valid
                                                                                      valid and
                                                                                              and enforceable
                                                                                                     enforceable to to the
                                                                                                                       the fullest
                                                                                                                             fullest extent
                                                                                                                                       extent
   permitted by
   permitted  by law,       said illegal,
                        and said
                  law, and        illegal, invalid,
                                           invalid, or
                                                    or unenforceable
                                                       unenforceable portion
                                                                        portion oror provision
                                                                                     provision shall
                                                                                                   shall be
                                                                                                         be deemed
                                                                                                             deemed notnot to
                                                                                                                            to bebe aa part
                                                                                                                                       part of
                                                                                                                                            of
   this Agreement.
   this Agreement. The The only
                            only exception
                                  exception to to this
                                                  this severability
                                                       severability provision
                                                                     provision is,   should the
                                                                                 is, should    the dispute
                                                                                                     dispute involve
                                                                                                              involve aa representative,
                                                                                                                          representative,
   collective or
   collective    class action
              or class action claim,
                               claim, and
                                        and the
                                             the representative,
                                                 representative, collective,
                                                                  collective, and
                                                                               and class
                                                                                     class action
                                                                                             action waiver    (Section D)
                                                                                                      waiver (Section    D) is
                                                                                                                             is found
                                                                                                                                found toto be
                                                                                                                                            be

                                                                                                                                                   114
                                                                                                                                                     4
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      invalid or
      invalid or unenforceable
                 unenforceable for
                                for any
                                    any reason,
                                        reason, then
                                                then this
                                                     this Agreement
                                                          Agreement (except
                                                                      (except for
                                                                               for the
                                                                                   the parties'
                                                                                       parties' agreement
                                                                                                agreement to
                                                                                                           to waive
                                                                                                              waive aa jury
                                                                                                                       jury trial)
                                                                                                                            trial)
      shall be
      shall be null
               null and
                    and void
                        void with
                             with respect
                                  respect to
                                          to such
                                             such representative,
                                                  representative, collective,
                                                                  collective, and/or
                                                                              and/or class
                                                                                      class claim
                                                                                            claim only,
                                                                                                  only, and
                                                                                                        and the
                                                                                                            the dispute
                                                                                                                dispute will
                                                                                                                         will not
                                                                                                                              not
                     with respect
         arbitrable with
      be arbitrable
      be                  respect to
                                  to such
                                     such claim(s).
                                          claim(s).

R. Federal
R. Federal Arbitration
           Arbitration Act.
                       Act. This
                            This Agreement
                                 Agreement will
                                           will be
                                                be governed
                                                   governed by
                                                            by the
                                                               the Federal
                                                                   Federal Arbitration
                                                                           Arbitration Act.
                                                                                       Act.

S.
S.    Consideration. You
      Consideration.   You agree
                           agree that
                                  that Charter
                                       Charter has
                                                has offered
                                                     offered you
                                                              you sufficient
                                                                  sufficient consideration
                                                                             consideration for
                                                                                            for this
                                                                                                this Agreement,
                                                                                                     Agreement, including,
                                                                                                                including,
      without limitation,
      without limitation, consideration
                          consideration of
                                        of your
                                           your application
                                                application for
                                                            for employment
                                                                employment with
                                                                              with Charter,
                                                                                   Charter, your
                                                                                            your employment
                                                                                                 employment with
                                                                                                            with Charter,
                                                                                                                  Charter,
      and/or Charter's
      and/or Charter's mutual
                        mutual agreement
                               agreement toto arbitrate
                                              arbitrate disputes.
                                                        disputes.

T.
T.    Termination, This
      Termination. This Agreement
                        Agreement survives
                                       survives the             of your
                                                    termination of
                                                the termination    your employment
                                                                        employment with
                                                                                     with Charter
                                                                                          Charter (including
                                                                                                  (including if
                                                                                                             if you
                                                                                                                you are
                                                                                                                    are later
                                                                                                                        later
      re-employed by
      re-employed  by and/or           employment with
                                  your employment
                      and/or ifif your               with Charter
                                                          Charter terminates
                                                                  terminates again).
                                                                             again).

U. Voluntary.
U. Voluntary. You
               You acknowledge
                      acknowledge that
                                   that you
                                        you have
                                            have carefully
                                                 carefully read
                                                           read this
                                                                this Agreement,
                                                                     Agreement, fully understand what
                                                                                fully understand what it
                                                                                                      it means,
                                                                                                         means, and
                                                                                                                and are
                                                                                                                    are
            into itit voluntarily.
   entering into
   entering           voluntarily.

V. Effective
V. Effective Date.
             Date. This Agreement is
                   This Agreement    is effective
                                        effective and
                                                  and you
                                                      you are
                                                          are legally
                                                               legally bound
                                                                       bound byby the
                                                                                  the terms
                                                                                      terms of
                                                                                            of Charter's
                                                                                               Charter's Solution
                                                                                                         Solution Channel
                                                                                                                  Channel and
                                                                                                                          and
   this Agreement,
   this Agreement, as
                    as of
                        of the
                           the date     your consent
                                    of your
                               date of       consent to
                                                      to participate
                                                         participate in
                                                                      in Solution
                                                                         Solution Channel.
                                                                                   Channel.




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      Version Date —September  25, 2017
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         Channel
Solution Channel
Solution
For Resolution
For Resolution of
               of Employment-Based
                  Employment -Based Legal
                                    Legal Disputes
                                          Disputes


PROGRAM GUIDELINES
PROGRAM GUIDELINES




Charter
Charter
 COMMUNICATIONS
 COMMUNICATIONS                                      Version Date—September
                                                     Version Date —September 25,
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                                                                                 2017
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                  to Create
                     Create aa Positive
                               Positive Work
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                                                        for All
                                                            All Employees
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                   an Environment
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                                                        in the
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                                                               Workplace

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DEALING WITH CONFLICT
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                      IN THE
                         THE WORKPLACE
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  Charter Has
  Charter Has Created
              Created aa Welcome
                         Welcome and
                                 and Productive
                                     Productive Culture
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                                 to Act
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                                          of Conduct
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         NEED TO
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Our Employment
Our  Employment
Philosophy
Philosophy
CHARTER STRIVES
CHARTER STRIVES TO
                TO CREATE
                   CREATE A
                          A POSITIVE
                            POSITIVE WORK EXPERIENCE FOR
                                     WORK EXPERIENCE FOR ALL
                                                         ALL
EMPLOYEES
EMPLOYEES
Charter recruits
Charter   recruits and
                   and hires
                        hires top
                              top talent,
                                   talent, To
                                           To retain
                                               retain and
                                                      and develop
                                                          develop that
                                                                   that talent, Charter
                                                                        talent, Charter
believes that
believes   that work
                work should
                      should be
                              be aa positive
                                    positive experience,
                                              experience, where
                                                           where employees
                                                                  employees areare treated
                                                                                   treated
fairly, respectfully,
fairly,               honestly, professionally,
        respectfully, honestly, professionally, and    with integrity.
                                                   and with integrity.
EMPLOYMENT OPPORTUNITIES
EMPLOYMENT OPPORTUNITIES AT         ARE EQUAL
                            CHARTER ARE
                         AT CHARTER     EQUAL AND
                                              AND FAIR
                                                  FAIR
Charter has
Charter                             practice and
                 long-standing practice
          has aa long-standing                and policy
                                                  policy ofof offering
                                                              offering equal
                                                                        equal opportunities
                                                                                opportunities
to all
to all employees
       employees and and app
                           app icants
                                 icants for
                                        for employment
                                            employment without        regard to
                                                            without regard    to race,
                                                                                  race, color,
                                                                                          color,
sex, pregnancy,
sex,  pregnancy, age,
                    age, religion,
                          religion, creed,
                                     creed, physical
                                            physical or   mental disability
                                                      or mental    disability status,    medical
                                                                               status, medical
condition, genetic
condition,  genetic information,
                      information, national
                                       national origin,
                                                 origin, nationality,
                                                         nationaty, ancestry,
                                                                       ancestry, citizenship
                                                                                    citizenship
status, veteran
status,                     military status,
                   status, military
         veteran status,               status, sexual
                                               sexual orientation,
                                                       orientation, gender
                                                                      gender identity,
                                                                                identity, gender
                                                                                           gender
               marital status,
expression, marital
expression,             status, domestic
                                   domestic partner
                                             partner status,
                                                       status, or
                                                               or any
                                                                  any other
                                                                        other basis
                                                                                basis protected
                                                                                        protected
by law.
by law. This
         This practice    and policy
               practice and     policy applies
                                        applies to
                                                to every
                                                   every aspect
                                                           aspect ofof employment,
                                                                       employment, including
                                                                                         including
                hiring, promotion,
recruitment, hiring,
recruitment,            promotion, compensation,         transfers, layoffs,
                                       compensation, transfers,      layoffs, terminations,
                                                                               terminations,
Charter-sponsored training,
Charter-sponsored       training, educaton,
                                    eclucaton, tuition   assistance, benefits
                                                tuition assistance,    benefits and
                                                                                  and all   other
                                                                                        all other
employment decisions.
employment      decisions. Additionally,
                              Additionally, Charter
                                             Charter complies
                                                       complies fully
                                                                   fully with
                                                                         with al
                                                                               al local,
                                                                                   local, state,
                                                                                           state,
and federal
and  federal employment
              employment laws   laws prohibiting   discrimnation, harassment,
                                      prohibiting discrirWnation,     harassment, and  and
retaliation in
retaliation  in the
                the workplace.
                     workplace.
INCLUSION IN
INCLUSION IN THE
             THE WORKPLACE IS A
                 WORKPLACE IS A PRIORITY AT CHARTER
                                PRIORITY AT CHARTER
Recognizing the
Recognizing    the value
                   value of
                          of aa diverse
                                diverse workforce,    Charter takes
                                         workforce, Charter    takes affirmative  steps
                                                                     affirmative steps
to create
to create aa work
             work environment
                   environment that that is inclusive,  welcoming,
                                         is inclusive, welcoming, and
                                                                    and supportive
                                                                         supportive
of individuals
of individuals from
                from different
                      different backgrounds
                                  backgrounds andand cultures.
                                                       cultures. The
                                                                 The value
                                                                     value we
                                                                           we place
                                                                               place
on these
on  these individual
           individual differences    demonstrates     Charter's  commitment
                      differences demonstrates Charter's commitment to         to
treating employees
treating              respectfully and
          employees respectfully      and acknowledging
                                            acknowledging their    contributions to
                                                             their contributions  to the
                                                                                     the
organization's   overall success.
organization's overall success.

CHARTER PROMOTES
CHARTER PROMOTES AN             OF OPEN
                    ENVIRONMENT OF
                 AN ENVIRONMENT    OPEN COMMUNICATION
                                        COMMUNICATION IN
                                                      IN
THE WORKPLACE
THE WORKPLACE
Charter maintains
Charter  maintains an
                    an Open
                       Open Door
                              Door Policy,
                                     Policy, which
                                             which encourages
                                                   encourages employees
                                                                 employees to to
raise           issues, questions,
      concerns, issues,
raise concerns,          questions, and   ideas with
                                     and ideas  with their
                                                     their leadership
                                                           leadership and    human
                                                                        and human
resources teams.
resources teams. The             goals of
                        primary goals
                   The primary          of the
                                           the Open
                                               Open Door
                                                     Door Policy
                                                            Policy are
                                                                   are to
                                                                       to promptly
                                                                           promptly
resolve workplace
resolve workplace issues,
                    issues, create
                            create aa receptive environment in
                                      receptive environment    in which
                                                                  which ideas
                                                                          ideas can
                                                                                 can be
                                                                                     be
shared and
shared      provide aa way
        and provide    way to
                            to express
                               express concerns.
                                         concerns.


                                                                                                     33
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           who use
Employees who
Employees      use the  Open Door
                    the Open  Door Policy
                                    Policy in
                                           in aa professional  and appropriate
                                                 professional and  appropriate
       will never
manner will
manner      never be
                  be penalized
                     penalized or
                               or retaliated
                                  retaliated against
                                              against for
                                                       for doing
                                                           doing so.
                                                                 so.


          is an
  Charter is
  Charter    an equal
                 equal opportunity
                       opportunity employer.
                                     employer. Discrimination,
                                                 Discrimination,
  harassment, and
  harassment,   and retaliation are not
                    retaliation are not tolerated
                                        tolerated atat Charter. Our
                                                       Charter. Our
  diverse workforce
  diverse workforce shows
                      shows Charter's   commitment to
                              Charter's commitment      to embracing
                                                           embracing
  and supporting
  and                          and cultural
                   individual and
       supporting individual       cultural differences.
                                            differences




                                                                                     4
                                                                                     4
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        with Conflict
Dealing with
Dealing      Conflict in
                      in
    Workplace
the Workplace
the
CHARTER HAS
CHARTER HAS CREATED
            CREATED A
                    A WELCOME AND PRODUCTIVE
                      WELCOME AND PRODUCTIVE CULTURE
                                             CULTURE
         environment in
    work environment
 A work
 A                      in which
                           which employees
                                   employees feel   welcome and
                                               feel welcome    and valued
                                                                    valued leads
                                                                           leads toto
aa more
   more productive
         productive and               workforce. A
                           dedicated workforce.
                     and dedicated                 A productive
                                                      productive and
                                                                  and dedicated
                                                                       dedicated
 workforce leads
 workforce  leads to                service, which
                      exceptional service,
                  to exceptional             which is
                                                    is reflected
                                                       reflected in
                                                                 in our
                                                                    our customers'
                                                                        customers'
              with and
 satisfaction with
 satisfaction      and loyalty
                         loyalty to
                                 to Charter.
                                    Charter. Because
                                             Because Charter's
                                                        Charter's success
                                                                  success is   ultimately
                                                                            is ultimately
 dependent upon
 dependent                     workplace cu
                     positive workplace
             upon aa positive              cu ture
                                              ture and
                                                    and employee
                                                         employee experience,
                                                                     experience, wewe
        each day
 strive each
 strive      day to
                 to preserve
                     preserve that
                                that culture
                                     culture and  experience.
                                             and experience.
        EMPLOYEES ARE
CHARTER EMPLOYEES
CHARTER                        TO ACT
                      EXPECTED TO
                  ARE EXPECTED    ACT PROFESSIONALLY AND
                                      PROFESSIONALLY AND
     INTEGRITY
WITH INTEGRITY
WITH
         takes pride
Charter takes
Charter          pride in
                       in its
                          its professional
                               professional and
                                             and congenial   work environment.
                                                   congenial work  environment. In In our
                                                                                      our
        to safeguard
efforts to
efforts    safeguard aa workplace
                          workplace in  in which
                                           which employees
                                                  employees can
                                                              can thrive,
                                                                  thrive, every  Charter
                                                                          every Charter
employee is
employee    is expected
               expected toto follow
                              follow Charter's    Professional Conduct
                                       Charter's Professional  Conduct Policy
                                                                         Policy and
                                                                                and Code
                                                                                      Code
of Conduct.
of                  means that
               This means
   Conduct. This             that employees
                                   employees must
                                                must treat
                                                      treat others
                                                            others respectfully,  perform
                                                                   respectfully, perform
their job
their             and assignments
          duties and
      job duties        assignments withwith integrity,
                                             integrity, accept
                                                        accept responsibility  for their
                                                                responsibility for their
actions, maintain
actions,             honesty in
          maintain honesty      in all
                                   all business
                                       business interactions,
                                                 interactions, and comply fully
                                                               and comply   fully with
                                                                                  with
applicable laws.
applicable   laws.
          A WORKPLACE
REPORTING A
REPORTING   WORKPLACE CONFLICT
                      CONFLICT
We understand
We                 that conflicts
     understand that    conflicts may
                                   may sometimes
                                        sometimes arisearise at
                                                             at work,
                                                                work. An An employee
                                                                             employee who
                                                                                        who
has aa work-related
has    work-related concern
                      concern oror issue
                                   issue is
                                          is strongly   encouraged to
                                             strongly encouraged        to promptly
                                                                           promptly bring
                                                                                     bring the
                                                                                           the
matter to
matter   to the            of his
                 attention of
            the attention     his or
                                  or her
                                     her leader
                                         leader oror aa human
                                                        human resources
                                                                resources representative.
                                                                              representative.
When issues
When    issues and              are addressed
                     concerns are
                 and concerns       addressed at at the   outset, itit minimizes
                                                     the outset,       minimizes the
                                                                                  the
disruption in
disruption   in the
                the workplace,
                    workplace, and
                                 and helps
                                      helps to  allow for
                                             to allow   for resolution
                                                            resolution while
                                                                          while employees
                                                                                employees
remain focused
remain   focused onon providing
                      providing quality
                                  quality service
                                           service to
                                                    to customers.
                                                        customers.
Conflict and
Conflict      disharmony in
          and disharmony      in the
                                 the workplace
                                      workplace areare taken
                                                       taken seriously
                                                                seriously at
                                                                          at Charter.
                                                                             Charter,
Appropriate   complaints     that  are  brought
Appropriate complaints that are brought to the    to the  attention
                                                         attention    of
                                                                      of Charter's
                                                                         Charter's leadership
                                                                                   leadership
or human    resources
or human resources team team    will
                               will  be
                                     be investigated.
                                        investigated.    While
                                                         While   we
                                                                 we  cannot
                                                                     cannot  guarantee
                                                                             guarantee   that
                                                                                         that
the  outcome   of
the outcome of an an investigation
                     investigation     will be  satisfactory
                                       will be satisfactory    to
                                                               to everyone,
                                                                  everyone,  we
                                                                             we  can
                                                                                 can  promise
                                                                                      promise
that the
that                      will be
          investigation will
      the investigation        be thorough
                                   thorough andand unbiased,
                                                    unbiased, that
                                                                 that any
                                                                      any action
                                                                          action taken   will
                                                                                  taken will
be  lawful, and that  the  individuals
be lawful, and that the individuals      affected
                                         affected   will
                                                    will be
                                                         be  treated
                                                             treated  with
                                                                      with respect
                                                                           respect   and
                                                                                     and
dignity.
dignity.
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   Chceitg employees
   Charter   et 7iloyees work
                          work in  an environment
                                in an environment in  it which
                                                         whic they
                                                                 hey are
                                                                     are
   not only
   not  only permitted,
               permittiggi.bja
                           but are encouraged. to
                               are encouraged.     to speak
                                                      speak up
                                                             up about
                                                                about
   issues and
   issues  and concerns
                 concerns when
                            when they
                                  they first
                                        first surface.
                                              surface. Charter
                                                        Charter believes
                                                                believes
   that the
   that  the timely
              timely and
                     and appropriate
                           appropriate resolution
                                         resolution of
                                                     of workplace
                                                         workplace
   conflict  riesuIrMr-nore     productive     wor   or     ed
   conflict results in a more productive workforce, dedicated       d to
   providing superior
   providing    superior customer
                         custom -r service.
                                      ervice


'2E1730,DNISC
REPORTS                    DV CHARTER'S
              VIOL/471CW S OF
           OF VIOLATIONS                   CODE OF
                              DIAliftTEWS CODE   CD CONDUCT
                                                    CONDUCT MAY
                                                             PJTAY BE
                                                                    BE
SOMEDDM:D THROUGH
SUBMITTED     THRMIGH CHARTER'S
                        CCCRATEL2'S ETHICS
                                      ETHICS. AND
                                              AN COMPLIANCE
                                                  'COMPLIANCE HOTLINE
                                                               i=]0TLINE
In those
In those rare
         rare instances
               instances where
                          where an
                                 an individual
                                     individual believes
                                                believes there
                                                          there has
                                                                 has been
                                                                      been aa violation
                                                                              violation
of Charter's
of Charter's Code
             Code ofof Conduct
                       Conduct that
                                 that cannot
                                       cannot be
                                              be reported
                                                 reported through
                                                             through normal
                                                                       normal channels,
                                                                                channels,
Charter maintains
Charter  maintains anan ethics
                        ethics and
                                and compliance
                                     compliance hotline
                                                 hotline referred
                                                           referred to
                                                                     to as
                                                                        as EthicsPoint.
                                                                           EthicsPoint.
Reports can
Reports  can be
              be submitted
                  submitted at  www.EthicsPoint.com or
                             at www.EthicsPoint.com          by calling
                                                         or by           866.384.4277.
                                                                calling 866.384.4277.
Charter's policy
Charter's policy prohibiting
                   prohibiting retaliation
                               retaliation extends
                                           extends to
                                                    to those
                                                       those who
                                                               who submit
                                                                     submit aa report
                                                                               report
      Ethics Point.
using EthicsPoint.
using

CHARMPS POLICY
CHARTER'S POLICY AND
                 AdD CODE
                     CODE OF
                          OF CONDUCT
                             CONDUCT PROHIBIT
                                     PROHIBIT RETALIATION
                                              RETALIATION
Charter is
Charter   is steadfast
              steadfast in
                         in its
                             its belief
                                  belief that
                                         that no
                                              no employee
                                                 employee should
                                                              should bebe in
                                                                           in fear
                                                                              fear of
                                                                                    of
reprisals for
reprisals   for bringing
                bringing aa complaint,
                              complaint, encouraging
                                           encouraging or or aiding
                                                              aiding another
                                                                      another person
                                                                                 person to to
           concern, or
report aa concern,
report                or cooperating
                         cooperating during
                                          during an
                                                 an investigation.
                                                     investigation. Charter's
                                                                       Charter's policy
                                                                                   policy
prohibiting retaliation
prohibiting    retaliation in
                            in any
                                any form
                                     form and
                                           and of
                                                of any
                                                   any kind
                                                        kind is
                                                              is strictly
                                                                 strictly enforced
                                                                           enforced as as to
                                                                                          to
all employees.
all employees. ThisThis means
                         means thatthat no
                                         no employee
                                            employee will
                                                        will be
                                                             be discharged,
                                                                 discharged, disciplined,
                                                                                disciplined,
denied aa promotion,
denied      promotion, demoted,
                          demoted, assigned
                                        assigned to
                                                  to an
                                                     an unfavorable
                                                         unfavorable work
                                                                        work shift
                                                                                shift andjor
                                                                                       and/or
location, targeted
location,   targeted byby aa leader,
                              leader, or
                                       or otherwise
                                          otherwise treated
                                                      treated unfairly
                                                                unfairly in
                                                                          in retaliation
                                                                             retaliation for
                                                                                           for
complaining about
complaining             an issue,
                 about an   issue, encouraging
                                     encouraging oror aiding
                                                       aiding another     person to
                                                               another person      to complain,
                                                                                       complain,
or cooperating
or  cooperating during
                   during anan investigation.
                                 investigation.


      harter's Code
    Charter's   !Code of
                      of Conduct
                         Conduct impresses
                                   impresses uponupon employees
                                                      employees thethe
    importance of
    importance    of acting
                     acting and
                             and treating
                                 treating others
                                            others professionally,
                                                    professionally,
    with integrity,
    with  integrity, honestly,
                     honestly, lawfully,
                               lawfully, and
                                          and respectfully.
                                               respectfully. Charter's
                                                             Charter's
    continuecLccess
    continued             hinges upon
                 success hinges  upon employees'
                                         employees' adherence
                                                      adherence to
    the highest
    the highest ethical
                  ethical standards
                          standards inin their
                                         their day-to-day
                                                day-to-day business
                                                            business
    activities.
    activities.
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The Channel
The Channel for  Resolution
             for Resolution
of Employment-Related
of Employment-Related
Legal Disputes
Legal Disputes
CHARTER'S SOLUTION
CHARTER'S          CHANNEL
          SOLUTION CHANNEL
With an
With  an emphasis
         emphasis on   fostering aa positive
                   on fostering      positive work
                                               work environment
                                                    environment where    open communication
                                                                  where open   communication
is encouraged,
is encouraged, Charter
               Charter is is confident
                             confident that
                                        that the vast majority
                                             the vast majority of
                                                               of workplace
                                                                  workplace conflicts
                                                                             conflicts will
                                                                                       will be
                                                                                            be
              resolved through
appropriately resolved
appropriately            through less
                                   less formal  channels. However,
                                        formal channels.  However, wewe also
                                                                        also recognize  that
                                                                             recognize that
      may be
there may
there      be some
              some employment-based
                    employment-based disputesdisputes that
                                                      that are
                                                           are best
                                                               best addressed
                                                                    addressed through
                                                                               through aa more
                                                                                            more
           and formal
structured and
structured      formal resolution
                        resolution process.
                                     process.
Solution Channel
Solution  Channel isis aa dispute
                          dispute resolution
                                  resolution alternative
                                              alternative developed
                                                          developed byby Charter. Solution
                                                                         Charter. Solution
Channel isis the
Channel      the means
                 means by     which aa current
                           by which    current employee,
                                               employee, aa former
                                                             former employee,
                                                                     employee, anan applicant
                                                                                    applicant for
                                                                                              for
employment, or
employment,     or Charter
                   Charter can
                             can efficiently and privately
                                 efficiently and                    covered employment-based
                                                            resolve covered
                                                  privately resolve          employment-based
legal disputes.
legal disputes. Solution
                 Solution Channel
                            Channel provides
                                      provides aa number
                                                  number ofof tangible benefits:
                                                              tangible benefits:




                                                                                               7
                                                                                               7
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Solution Channel
Solution Channel is  is not
                        not intended
                            intended to  be aa substitute
                                      to be                for the
                                               substitute for  the manner
                                                                   manner inin which
                                                                               which
routine conflicts,
routine conflicts, concerns,
                    concerns, and
                                and issues
                                    issues in
                                            in the
                                               the workplace
                                                   workplace areare handled.   Solution
                                                                    handled. Solution
Channel is
Channel   is reserved
              reserved for  the resolution
                        for the resolution of
                                           of certain
                                               certain legal
                                                       legal disputes
                                                              disputes that
                                                                       that arise
                                                                             arise in
                                                                                   in the
                                                                                      the
course of
course  of the
            the pre-employment
                 pre-employment and      employment relationship.
                                   and employment       relationship.
          workers assigned
Contract workers
Contract            assigned to
                              to provide
                                  provide services to Charter
                                          services to Charter or
                                                              or Charter
                                                                 Charter customers
                                                                         customers
are not eligible to participate in
are not eligible to participate in Solution
                                   Solution Channel.
                                            Channel.

         CHANNEL AT
SOLUTION CHANNEL
SOLUTION         AT A
                    A GLANCE
                      GLANCE
The process
The  process involves
                involves multiple
                          multiple steps,
                                      steps, any
                                             any ofof which
                                                      which may  result in
                                                            may result  in reso
                                                                           reso ution
                                                                                 ution of
                                                                                       of the
                                                                                          the
dispute. IfIf necessary,
dispute.      necessary, the
                          the last        is final
                                     step is
                               last step     final and
                                                    and binding
                                                        binding arbitration
                                                                arbitration of
                                                                             of the
                                                                                the dispute.
                                                                                    dispute.
An overview
An  overview of  of the
                    the rules
                        rules and
                              and the
                                    the dispute
                                         dispute resolution   process follows.
                                                   resolution process  follows.


   While Charter
   While                    that nearly
                   believes that
          Charter believes        nearly all
                                         all workplace
                                              workplace disputes    can
                                                          disputes can
       resolved through
   be resolved
   be           through Charter's
                          Charter's Open
                                    Open DoorDoor Policy   and other
                                                   Policy and   other
   informal  avenues.  Solution  Channel
   informal avenues, Solution Channel     affords
                                          affords   an
                                                    an  efficient
                                                       efficient  and
                                                                  and
   less costly
   less costly way
               way to
                    to resolve those issues
                       resolve those  issues that   are better
                                               that are  better resolved
                                                                 resolved
   through   a more  formal process.
   through a more formal process.


        RULES
GENERAL RULES
GENERAL
11,. Unless        is an
             there is
     Unless there      an agreement
                          agreement toto the
                                         the contrary,
                                             contrary, Solution
                                                       Solution Channel
                                                                Channel is
                                                                         is the
                                                                            the
     exclusive means
     exclusive means of of resolving
                           resolving employment-related
                                     employment-related legal
                                                            legal disputes that are
                                                                  disputes that are
     covered under
     covered  under this   Program,
                      this Program.
2. With
2. With limited
         limited exceptions,               in Solution
                             participation in
                 exceptions, participation    Solution Channel
                                                       Channel is
                                                                is aa condition
                                                                      condition
                    for employment
      consideration for
   of consideration
   of                                 with Charter,
                        employment with    Charter, and
                                                    and aa condition
                                                           condition of   working
                                                                       of working
      Charter.
   at Charter.
   at
         implementation of
   Upon implementation
3. Upon
3.                          of Solution           current employees
                                         Channel, current
                               Solution Channel,                        will be
                                                           employees will    be
   provided aa 30-day
   provided                      period. Those
                        opt-out period.
                30-day opt-out           Those employees
                                                employees will
                                                             will be
                                                                  be covered
                                                                     covered byby
   Solution Channel
   Solution            unless they
             Channel unless   they opt
                                   opt out.  Those employees
                                        out. Those  employees covered
                                                                 covered by
                                                                          by aa
   collective bargaining
   collective  bargaining agreement
                           agreement oror other
                                          other employment
                                                employment agreement        are
                                                                agreement are
   excluded from
   excluded   from Solution
                    Solution Channel
                             Channel unless    expressly allowed
                                       unless expressly  allowed under
                                                                   under those
                                                                         those
                 (although nothing
   agreements (although
   agreements                        in this
                            nothing in  this document
                                             document shall   limit the
                                                        shall limit     applicability
                                                                    the applicability
   of any
   of                  or other
           arbitration or
      any arbitration     other dispute
                                dispute resolution
                                         resolution provision
                                                    provision contained    in those
                                                                contained in  those
   agreements),
   agreements).
4. Applicants
4. Applicants who
               who choose
                   choose to
                           to be
                              be considered for employment
                                 considered for employment with
                                                           with Charter
                                                                Charter are
                                                                        are
   required to
   required to accept
               accept Charter's
                      Charter's Mutual
                                Mutual Arbitration Agreement.
                                       Arbitration Agreement.



                                                                                                8
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5. By
5. By participating
       participating in in Solution
                           Solution Channel,
                                      Channel, thethe right
                                                       right (a)
                                                             (a) of
                                                                 of aa current
                                                                       current or or former
                                                                                     former
   employee or
   employee    or applicant
                    applicant toto initiate
                                   initiate oror pursue
                                                 pursue aa covered
                                                            covered claim      against Charter
                                                                      claim against     Charter oror
   for Charter
   for Charter toto initiate
                     initiate or
                              or pursue
                                  pursue aa covered
                                              covered claim
                                                         claim against
                                                               against aa current
                                                                            current or   former
                                                                                      or former
   employee or
   employee    or applicant     acting in
                    applicant acting     in the
                                            the scope
                                                 scope ofof employment
                                                            employment in    in aa court
                                                                                   court of
                                                                                         of law
                                                                                            law or
                                                                                                 or
   equity is
   equity  is waived;
              waived; (b)    to have
                         (b) to           covered claim
                                 have aa covered     claim heard
                                                            heard by
                                                                   by aa court,
                                                                          court, judge,
                                                                                   judge, or jury
                                                                                          or jury
   is waived;
   is waived; and
               and (c)(c) to
                          to bring
                             bring or
                                    or pursue
                                        pursue aa covered
                                                    covered claim
                                                              claim asas aa representative
                                                                            representative or or
   member of
   member     of aa class,
                    class, collective,
                            collective, oror representation
                                             representation action
                                                               action isis waived.
                                                                           waived.
6. Participation
6. Participation in
                 in Solution
                     Solution Channel
                              Channel does
                                        does not
                                              not bar
                                                   bar aa claimant from filing
                                                          claimant from filing or
                                                                               or
   pursuing aa charge
   pursuing    charge or
                       or complaint
                           complaint with
                                      with aa government     agency. However,
                                              government agency.     However,
   either party
   either             choose to
                may choose
          party may           to request
                                 request that
                                          that the
                                                the government
                                                    government agency
                                                                  agency defer
                                                                           defer its
                                                                                  its
   investigation or
   investigation  or processing
                     processing of
                                 of the
                                    the charge
                                        charge oror complaint   pending the
                                                    complaint pending        outcome
                                                                         the outcome
   of the
   of the dispute
          dispute through
                   through Solution
                             Solution Channel.
                                      Channel.
7. A
7. A claim
     claim must
            must be
                 be submitted
                    submitted to
                               to Solution
                                  Solution Channel   within the
                                           Channel within   the time
                                                                time period
                                                                     period
   established by
   established by the
                  the applicable
                      applicable statute
                                 statute of
                                         of limitations.
                                            limitations.
8. A
8.                claim may
      submitted claim
   A submitted           may be
                              be amended
                                 amended toto clarify,
                                              clarify, add
                                                       add or
                                                           or remove information or
                                                              remove information  or
   allegations and
   allegations  and related
                     related claims.
                             claims. A
                                     A claim
                                       claim may
                                              may not
                                                    not be
                                                        be amended
                                                           amended later
                                                                    later than
                                                                          than the
                                                                               the
   day of
   day  of the           conference with
               informal conference
           the informal              with the
                                          the arbitrator.
                                              arbitrator.
9. A
9. A respondent
     respondent toto aa claim       submit aa counterclaim
                               may submit
                        claim may             counterclaim (or
                                                            (or claim
                                                                claim against
                                                                      against the
                                                                               the
   other
   other party), that  will be reviewed and/or   arbitrated
         party), that will be reviewed and/or arbitrated    with
                                                            with the
                                                                 the original
                                                                     original claim.
                                                                              claim.
10. Absent
10. Absent extraordinary  circumstances, any
           extraordinary circumstances,   any claim
                                              claim submitted
                                                    submitted through
                                                              through Solution
                                                                      Solution
    Channel will
    Channel will generally
                 generally be
                           be resolved within one year.
                              resolved within one year.
11. Should
11. Should aa covered
              covered claim
                       claim proceed
                              proceed to  arbitration, the
                                       to arbitration, the American    Arbitration
                                                            American Arbitration
    Association (AAA)
    Association  (AAA) will
                         will be
                              be the  administrator of
                                  the administrator  of the
                                                        the claim.  Charter will
                                                             claim. Charter  will pay
                                                                                  pay
    the AAA
    the                        fees and
              administrative fees
        AAA administrative          and the
                                        the arbitrator's
                                            arbitrator's fees
                                                          fees and
                                                                and expenses.
                                                                    expenses. All  other
                                                                               All other
    costs, fees
    costs, fees and
                and expenses                with the
                                associated with
                    expenses associated          the arbitration,
                                                      arbitration, including
                                                                   including without
                                                                             without
    limitation each
    limitation each party's  attorneys' fees,
                     party's attorneys' fees, will
                                              will be
                                                   be borne
                                                      borne by   the party
                                                              by the party incurring
                                                                           incurring
    the costs,
    the costs, fees
               fees and
                    and expenses.
                         expenses.
12. The
12.                will apply
        arbitrator will
    The arbitrator      apply the
                              the burdens
                                   burdens of
                                            of proof
                                               proof and
                                                     and law
                                                         law applicable
                                                             applicable to
                                                                        to the
                                                                           the claim,
                                                                               claim,
    had the
    had the claim
            claim been
                   been brought
                         brought in
                                  in court.
                                     court.
13. At
13. At the discretion of
       the discretion  of the
                          the arbitrator, the prevailing
                              arbitrator, the prevailing party
                                                         party may
                                                               may recover
                                                                    recover any
                                                                            any
    remedy that
    remedy  that the
                 the party
                      party would
                             would have
                                    have been   allowed to
                                           been allowed     recover had
                                                         to recover had the
                                                                        the dispute
                                                                            dispute
    been brought
    been  brought in
                   in court.
                      court.
14. Questions,
14.                       or comments
                concerns, or
    Questions, concerns,     comments related
                                      related to
                                              to Solution
                                                 Solution Channel
                                                          Channel should
                                                                  should be
                                                                         be
    directed to
    directed    SolutionChannel@charter.com.
             to SolutionChannel@charter.com.




                                                                                                       9
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           believes that
  Charter believes
  Charter                            Channel is
                          Solution Channel
                    that Solution            is the
                                                the best
                                                    best way
                                                         way toto
                   employment -related legal
          covered employment-related
  resolve covered
  resolve                                  legal disputes.   n an
                                                  disputes.jIn  an effort
                                                                   effort
  to ensure
  to ensure you
             yoL.Mrd  Charter   benefrIMITrhis     Progra    ,
                 and Charter benefit from this Program, CharterCharter
  will absorb
  will         most of
       absorb most   of the
                        the administrative
                            administrative costs
                                            costs of
                                                   of arbitration  if aa
                                                       rbitration if
  claimant  decides  to  arbitrate a  coverelairn.
  claimant decides to arbitrate a covered     claim.


           A CLAIM
INITIATING A L'LL,1)1
1.1. A
     A claimant
       claimant (an
                 (an eligible
                     eligible current
                              current employee,
                                       employee, former
                                                   former employee,  applicant
                                                           employee, applicant
     for employment,
     for employment, or              will use
                          Charter) will
                       or Charter)        use aa dedicated
                                                 dedicated web-based  portal to
                                                           web -based portal to
                    submit aa claim.
     electronically submit
     electronically           claim.
   The claim
2. The
2.     claim should
              should describe
                     describe in
                               in detail
                                  detail the
                                         the nature
                                             nature of
                                                    of the
                                                       the dispute,
                                                           dispute, the
                                                                     the date
                                                                         date of
                                                                               of
                involved in
       persons involved
   and persons
   and                   in the
                            the alleged
                                 alleged misconduct
                                          misconduct or
                                                      or violation,
                                                         violation, and
                                                                    and the
                                                                         the remedy
                                                                             remedy
   requested.
   requested.
3. Once
3. Once the
         the claim is submitted,
             claim is submitted, an
                                 an automated   email response
                                    automated email            will be
                                                      response will be sent
                                                                       sent to
                                                                            to
   the                       submission of
                 confirming submission
       claimant, confirming
   the claimant,                        of the
                                           the claim.
                                               claim.



   All covered
   All covered claims
               claims must
                      must be
                           be timely
                              timely submitted
                                     submitted as
                                               as required
                                                  required
   underr the
          the Program.
              Pro r



All covered
All  covered claims
               claims must
                      must be   timely submitted
                             be timely submitted as  required under
                                                  as required  under the
                                                                       the Program
                                                                            Program
in order
in  order to
          to be
              be considered.   Untimely claims
                  considered. Untimely  claims will
                                               will not
                                                    not be
                                                        be internally   reviewed or
                                                            internally reviewed   or
arbitrated through
arbitrated  through Solution  Channel.
                     Solution Channel.

P1717:RNAIL CLAIM
INTERNAL    CLAIM REVIEW
                  REVIEW
1 Upon
1. Upon receipt,
         receipt, the
                  the claim
                      claim will
                            will be reviewed to
                                 be reviewed to determine whether the
                                                determine whether the claim
                                                                      claim is
                                                                            is
   covered by
   covered  by Solution  Channel.
               Solution Channel.
2. IfIf the
2.          claim is
        the claim is not
                     not covered,
                         covered, the
                                  the claimant will be
                                      claimant will be notified by email
                                                       notified by email and
                                                                          and the
                                                                              the
   claim may
   claim    may be
                 be referred
                     referred to Employee  Relations, EthicsPoint, or closed,
                              to Employee Relations, EthicsPoint, or closed.
3. IfIf the
3.                is covered,
            claim is
        the claim             there will
                     covered, there will be
                                         be further
                                             further review
                                                     review ofof the
                                                                 the claim
                                                                      claim by
                                                                            by Charter.
                                                                               Charter.
4. A
4. A summary
         summary ofof Charter's
                      Charter's decision  following its
                                decision following   its review   will be
                                                         review will   be emailed
                                                                          emailed to
                                                                                  to the
                                                                                     the
   claimant.
   claimant.
5. The
5.               will notify
       claimant will
   The claimant       notify Charter
                             Charter by
                                     by email
                                        email whether
                                              whether he
                                                      he or
                                                         or she
                                                            she wishes
                                                                wishes to
                                                                       to
            to arbitration.
   proceed to
   proceed     arbitration.
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            A DISPUTE
ARBITRATING A
ARBITRATING   DISPUTE
1 Once
1. Once aa party
            party is
                  is notified
                     notified of
                              of aa claimant's
                                    claimant's desire
                                               desire to
                                                       to proceed  to arbitration
                                                          proceed to  arbitration to
                                                                                  to
   resolve the
   resolve                the AAA
                dispute, the
            the dispute,      AAA will
                                     will be
                                          be notified
                                             notified by
                                                      by Charter  and an
                                                          Charter and  an arbitrator will
                                                                          arbitrator will
   be jointly
   be jointly selected
              selected by
                        by the
                            the parties.
                                parties.
2. The
2.     parties will
   The parties will meet  telephonically with
                    meet telephonically  with the
                                              the arbitrator
                                                   arbitrator to schedule aa
                                                              to schedule
   mutually convenient
   mutually              date, time,
            convenient date,         and place
                               time, and place for
                                               for the
                                                    the arbitration hearing.
                                                        arbitration hearing.
         to the
   Prior to
3. Prior
3.          the scheduled
                scheduled hearing,
                           hearing, the
                                    the parties
                                        parties will
                                                will engage
                                                     engage inin discovery or the
                                                                 discovery or the
   exchange of
   exchange   of information,
                 information, which
                              which may
                                     may include  answering written
                                          include answering     written questions
                                                                        questions
   (interrogatories), exchanging
   (interrogatories),             documents, and
                       exchanging documents,    and taking
                                                     taking the
                                                            the deposition
                                                                 deposition
   testimony of
   testimony   of witnesses.
                  witnesses.
4. An
4. An evidentiary
      evidentiary hearing will be
                  hearing will be held
                                  held at which witnesses
                                       at which witnesses will
                                                          will be
                                                               be asked
                                                                  asked to testify
                                                                        to testify
   under oath.
   under oath. A
               A hearing
                 hearing may
                         may bebe waived
                                  waived only
                                          only by
                                               by agreement of both
                                                  agreement of  both parties.
                                                                     parties.
             the hearing,
   Following the
5. Following
5.               hearing, the            will issue
                              arbitrator will
                          the arbitrator      issue aa final and binding
                                                       final and binding written
                                                                         written decision.
                                                                                 decision.
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What Happens
What Happens After
             After aa Claim
                      Claim Is
                            Is Submitted?
                               Submitted?

                    The Claim
                    The Claim is
                              is Reviewed
                                 Reviewed Internally
                                          Internally


            COVERED
            COVERED
             CLAIM
             CLAIM


     Claimant
     Claimant              If claimant
                           If claimant
    notified of
    notified of         accepts internal
                        accepts    internal
  decision after
  decision  after          resolution,
                           resolution,
 internal review
 internal  review         claim closed
                         claim    closed




              A Claimant
              A Claimant May Choose to
                         May Choose to Arbitrate
                                       Arbitrate


                                                                    FINAL AND
                                                                    FINAL AND
rC:HOOS---
    CHOOSE                                                           BINDING
                                                                     BINDING
      TO
      TO                                                      \    DECISION OF
                                                                   DECISION OF
   ARBITRATE                                                       ARBITRATOR
                                                                   ARBITRATOR
   ARBITRATE                                         PARTICIPATE
                                                     PARTICIPATE
                       JOINTLY
                       JOINTLY                            IN
                                                          IN
                        SELECT
                       SELECT                        ARBITRATION
                                                     ARBITRATION
                     ARBITRATOR
                     ARBITRATOR                        HEARING
                                                       HEARING
                                         EXCHANGE
                                         EXCHANGE
                                        DOCUMENTS
                                        DOCUMENTS
    IlL----.410L
                                            AND
                                            AND
                                       INFORMATION
                                       INFORMATION
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What You
What You Need
         Need to
               to Know
                  Know
About Solution
About          Channel
      Solution Channel
RIGHTS AND
RIGHTS AND RESPONSIBILITIES
           RESPONSIBILITIES
   participants in
As participants
As                          Channel, you
                   Solution Channel,
                in Solution          you and
                                         and Charter
                                             Charter have
                                                     have aa right
                                                             right to:
                                                                   to:
 •• A
    A hearing
       hearing and
               and decision
                    decision by
                              by aa neutral
                                    neutral arbitrator
                                            arbitrator on
                                                       on aa covered
                                                             covered legal
                                                                     legal claim,
                                                                           claim, ifif the
                                                                                       the
          is not
    claim is
    claim    not resolved  informally
                 resolved informally
 •• Representation
    Representation by
                   by an attorney at
                      an attorney at each
                                     each party's
                                          party's own
                                                  own expense
                                                      expense
 •• Resolution
    Resolution of
               of aa covered
                     covered legal
                             legal claim
                                   claim generally
                                         generally within
                                                   within aa year
                                                             year of
                                                                  of aa claim
                                                                        claim being
                                                                              being filed
                                                                                    filed
 •• Damages
    Damages or or other
                  other remedies
                        remedies allowed
                                 allowed by
                                         by law,
                                            law, as
                                                 as deemed
                                                    deemed appropriate
                                                           appropriate by
                                                                       by
    the arbitrator
    the arbitrator

        Charter are
    and Charter
You and
You             are responsible
                    responsible for:
                                for:
 •▪ Meeting
    Meeting all
            all Program
                Program deadlines
                        deadlines
 •• Participating
    Participating in
                  in Solution
                     Solution Channel
                              Channel in
                                       in good
                                          good faith,
                                               faith, including
                                                      including providing
                                                                providing truthful
                                                                          truthful
                 and not
    information and
    information       not pursuing
                          pursuing claims
                                   claims to
                                           to harass
                                              harass or
                                                      or threaten
                                                         threaten the other party
                                                                  the other party
 •• Complying
    Complying with
              with all
                   all Program
                       Program rules
                               rules

WHO IS
WHO IS COVERED
       COVERED
Applicants
Applicants
All applicants
All applicants must
               must agree
                     agree to
                            to participate in Solution
                               participate in Solution Channel
                                                       Channel as
                                                                as aa condition of
                                                                      condition of
being considered
being  considered for  employment at
                   for employment    at Charter.
                                        Charter. Applicants
                                                 Applicants offered
                                                            offered employment
                                                                      employment
will be
will be required
        required to
                 to participate
                    participate in
                                in Solution  Channel throughout
                                   Solution Channel   throughout and
                                                                  and follow'ng
                                                                       follow'ng their
                                                                                 their
employment with
employment    with Charter.
                    Charter.

         Employees
Current Employees
Current
Current employees
Current  employees atat the
                        the effective  date of
                             effective date of Solution  Channel will
                                               Solution Channel    will be
                                                                        be enrolled
                                                                            enrolled in
                                                                                      in
the Program,   unless the  employee   opts out. Employees    covered   by  a
the Program, unless the employee opts out. Employees covered by a collective collective
bargaining agreement
bargaining  agreement or or other               agreement are
                                   employment agreement
                            other employment                  are excluded
                                                                  excluded from
                                                                              from Solution
                                                                                    Solution
Channel (although
Channel              nothing in
          (although nothing   in this
                                 this document   shall limit
                                      document shall limit the    applicability  of any
                                                             the applicability of any
arbitration or
arbitration or other
               other dispute
                     dispute resolution
                               resolution provision
                                          provision contained
                                                    contained in in those
                                                                    those agreements).
                                                                           agreements).

Former Employees
Former  Employees
Former employees
Former  employees who
                  who did
                      did not
                          not opt
                              opt out
                                  out of
                                      of Solution
                                         Solution Channel will remain
                                                  Channel will remain enrolled in
                                                                      enrolled in
    Program.
the Program.
the

Charter
Charter
Charter and
Charter and its affiliates and
            its affiliates and subsidiaries
                               subsidiaries are
                                            are enrolled
                                                enrolled in
                                                         in Solution
                                                            Solution Channel.
                                                                     Channel.
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COVERED AND
COVERED AND EXCLUDED
            EXCLUDED CLAIMS
                     CLAIMS
All disputes,
AM  disputes, claims,
               claims, and                   that could
                            controversies that
                       and controversies          could be
                                                        be asserted
                                                            asserted in
                                                                     in court
                                                                         court or
                                                                                or before
                                                                                   before
an  administrative  agency   or for which   you or  Charter  have an alleged
an administrative agency or for which you or Charter have an alleged cause of  cause  of
action
action  related
       related  to pre -employment,
                to pre-employment,      employment,
                                       employment,     employment
                                                       employment     termination
                                                                     termination    or
                                                                                    or
                                      whether the
                              claims, whether
post -employment -related claims,
post-employment-related                          the claims
                                                     claims are
                                                             are denominated
                                                                 denominated as  as tort,
                                                                                    tort,
contract,  common
contract, common     law,
                     law, or
                          or statutory
                             statutory   claims
                                         claims  (whether
                                                 (whether   under local,
                                                           under local,   state
                                                                          state or
                                                                                or federal
                                                                                   federal
law), are
law), are covered
           covered by
                    by and
                        and must
                            must bebe resolved
                                      resolved through
                                                 through Solution
                                                          Solution Channel,
                                                                   Channel, unless
                                                                               unless
            excluded below.
expressly excluded
expressly             below.
Employee claims
Employee  claims that
                 that are
                      are covered
                          covered by   and must
                                   by and  must be
                                                 be resolved
                                                    resolved through Solution
                                                             through Solution
Channel include without  limitation,
Channel include without limitation,  claims
                                     claims for:
                                            for:
  •• Unlawful
     Unlawful termination,
              termination, failure
                           failure to
                                   to hire
                                      hire or
                                           or failure
                                              failure to
                                                      to promote
                                                         promote
  •• Unlawful
     Unlawful discrimination,    harassment or
               discrimination, harassment     or retaliation (including such
                                                 retaliation (including  such claims
                                                                               claims
     based upon
     based  upon race,
                  race, color,
                        color, national origin, sex,
                               national origin, sex, pregnancy,
                                                     pregnancy, age,
                                                                  age, religion, sexual
                                                                       religion, sexual
     orientation, disability,
     orientation, disability, and
                              and any
                                  any other
                                      other prohibited
                                             prohibited grounds)
                                                          grounds)
  •• Wage
     Wage and
            and hour-based
                hour-based claims,
                             claims, including
                                      including claims
                                                 claims for
                                                        for unpaid
                                                             unpaid wages,
                                                                    wages,
     commissions, or
     commissions,   or other
                       other compensation
                             compensation or  or penalties
                                                 penalties (including
                                                            (including meal
                                                                       meal and
                                                                             and
     rest break
     rest break claims,
                claims, claims
                        claims for
                                for inaccurate
                                    inaccurate wage
                                                wage statements,
                                                      statements, claims   for
                                                                    claims for
     reimbursement of
     reimbursement    of expenses)
                         expenses)
  •• Claims
     Claims arising
              arising under
                      under the
                              the Family
                                   Family Medical
                                           Medical Leave
                                                     Leave Act,
                                                            Act, the
                                                                  the Americans
                                                                      Americans with
                                                                                  with
     Disabilities Act
     Disabilities  Act and/or
                       and/or similar
                                 similar state
                                         state laws
                                               laws (including
                                                      (including unlawful
                                                                  unlawful denial
                                                                           denial of
                                                                                   of
     or interference
     or interference with      leave of
                       with aa leave  of absence,
                                         absence, claims
                                                    claims for
                                                            for unlawful
                                                                unlawful denial
                                                                          denial of
                                                                                 of
     accommodation or
     accommodation      or failure
                           failure to
                                    to engage
                                       engage in   the interactive
                                                in the  interactive process)
                                                                     process)
  •• Claims
     Claims arising
            arising under               laws or
                          whistleblower laws
                    under whistleblower      or for
                                                for violations
                                                    violations of
                                                               of the
                                                                  the
     Sarbanes-Oxley Act
     Sarbanes-Oxley   Act
     Claims for
  •• Claims      violations of
             for violations of the
                               the Occupational
                                   Occupational Safety
                                                Safety and
                                                        and Health
                                                            Health Act
                                                                    Act or
                                                                        or other
                                                                           other
     safety or
     safety or occupational          laws, whether
                              health laws,
               occupational health         whether arising
                                                   arising before,
                                                           before, during
                                                                   during or
                                                                          or after
                                                                             after
     the termination
     the termination ofof employment
                          employment
  •• Claims
     Claims related
            related to background checks
                    to background   checks and
                                            and any
                                                 any and
                                                      and all
                                                           all other
                                                               other pre-employment
                                                                     pre -employment
     and employment
     and employment checks,
                       checks, including
                               including any
                                         any claims
                                              claims brought
                                                       brought under
                                                                 under the
                                                                       the Fair
                                                                           Fair Credit
                                                                                Credit
     Reporting Act
     Reporting Act and/or
                    and/or similar
                           similar federal,
                                   federal, state
                                            state or
                                                  or local
                                                     local statutes
                                                           statutes or
                                                                     or ordinances
                                                                        ordinances
The following
The following Charter claims are
              Charter claims are covered
                                 covered and
                                         and must
                                             must be
                                                  be resolved
                                                     resolved through
                                                              through
Solution Channel:
Solution Channel:
  •• Collection
     Collection of
                of overpaid
                   overpaid wages
                            wages and commissions
                                  and commissions
  •• Recovery
     Recovery of
              of reimbursed tuition
                 reimbursed tuition
  •• Recovery
     Recovery of
              of relocation reimbursement
                 relocation reimbursement
            to or
     Damage to
  •• Damage    or loss
                  loss of
                       of Charter
                          Charter property
                                  property
  •• Recovery
     Recovery of              charges on
                 unauthorized charges
              of unauthorized         on Company
                                         Company credit
                                                 credit card
                                                        card

                                                                                             14
                                                                                             14
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    covered claims
No covered
No                      between aa person
              claims between         person enrolled
                                            enrolled inin Solution
                                                           So).ition Channel    and Charter.,
                                                                      Channel and    Charter,
may be
may  be pursued
          pursued inin aa court.
                          court. All
                                 All covered
                                     covered claims
                                              claims may     only be
                                                       may only     be pursued
                                                                       pursued onon an
                                                                                     an
            basis. Individuals
individual basis.
individual         Individuals participating
                                  participating in
                                                 in this
                                                    this Program
                                                          Program waive
                                                                     waive their
                                                                            their right
                                                                                  right to
                                                                                        to
bring aa covered
bring    covered claim
                  claim in           and on
                              court and
                           in court      on behalf
                                             behalf of
                                                     of aa group
                                                           group oror class
                                                                      class of
                                                                            of individuals.
                                                                               individuals.

In the
In the event
        event aa dispute
                  dispute between    you and
                            between you  and Charter
                                             Charter is
                                                      is not
                                                         not arbitrable
                                                             arbitrable under
                                                                        under Solution
                                                                               Solution
Channel for
Channel   for any
               any reason
                    reason and
                             and is
                                 is pursued
                                    pursued in
                                            in court,
                                               court, you
                                                      you and  Charter agree
                                                          and Charter   agree to
                                                                              to waive
                                                                                 waive
any right
any  right to
           to aa jury trial that
                 jury trial that might
                                 might otherwise
                                       otherwise exist.
                                                 exist.

The following
The following employee
               employee claims
                        claims are
                               are excluded
                                   excluded from
                                            from and
                                                 and will
                                                     will not
                                                          not be
                                                              be resolved
                                                                 resolved
through Solution
through           Channe
         Solution Channe
  •• Claims
     Claims for
            for workers' compensation benefits
                workers' compensation benefits
  •• Claims
     Claims for
            for unemployment
                unemployment compensation
                             compensation benefits
                                          benefits
  •• Claims
     Claims arising
            arising under
                    under the
                          the National
                              National Labor
                                       Labor Relations
                                             Relations Act
                                                       Act
  •• Claims
     Claims arising
            arising under
                    under the
                          the Employee
                              Employee Retirement   Income Security
                                         Retirement Income Security Act,
                                                                    Act, or
                                                                         or for
                                                                            for
     breach of
     breach of employee
               employee benefits
                         benefits or
                                  or welfare
                                     welfare plans
                                             plans
  •• Claims
     Claims arising
            arising under
                    under separation   or severance
                           separation or              agreements or
                                          severance agreements     or non-compete
                                                                      non -compete
                  (unless arbitration
     agreements (unless
     agreements           arbitration is
                                      is provided
                                         provided for
                                                  for under
                                                       under the
                                                             the terms
                                                                 terms of
                                                                        of the
                                                                           the
     agreement)
     agreement)
  •• Claims
     Claims for
            for violations
                violations of
                           of the
                              the Health
                                  Health Information
                                         Information Portability
                                                     Portability and
                                                                 and
                     Act
     Accountability Act
     Accountability
  •• Claims
     Claims related
            related to corrective action
                    to corrective action that
                                         that do
                                              do not
                                                 not result
                                                     result in
                                                            in termination
                                                               termination of
                                                                           of
     employment
     employment
  •• Claims
     Claims older
            older than
                  than the
                       the statute of limitations
                           statute of limitations applicable
                                                  applicable to
                                                             to such claims
                                                                such claims
  •• Claims
     Claims related
            related to
                    to intellectual
                       intellectual property
                                    property

The following
The following Charter
              Charter claims
                      claims are          from and
                                 excluded from
                             are excluded          will not
                                               and will not be
                                                            be resolved through
                                                               resolved through
         Channel:
Solution Channel:
Solution
  •• Claims
     Claims of
            of theft or embezzlement,
               theft or embezzlement, or
                                      or any
                                         any criminal
                                             criminal conduct
                                                      conduct
            related to
     Claims related
  •• Claims            intellectual property
                    to intellectual property
  •• Claims
     Claims that
             that have
                  have already
                        already been
                                 been filed
                                      filed in
                                             in federal
                                                federal or
                                                        or state
                                                           state court
                                                                 court at
                                                                       at the
                                                                          the time
                                                                               time of
                                                                                    of
                   date of
         effective date
     the effective
     the                of the
                            the Mutual
                                Mutual Arbitration
                                         Arbitration Agreement,
                                                      Agreement, provided
                                                                   provided that
                                                                              that such
                                                                                   such
            were not
     claims were
     claims       not previously
                      previously subject
                                  subject to
                                           to any
                                               any arbitration agreement
                                                   arbitration agreement
  •• Claims   covered by
      Claims covered    by aa collective
                              collective bargaining
                                          bargaining agreement,
                                                        agreement, aa severance
                                                                       severance agreement,
                                                                                  agreement,
        non -compete agreement,
     aa non-compete     agreement, or or aa written   employment contract
                                            written employment               (although
                                                                    contract (although
               in this
      nothing in
     nothing      this document
                       document shall
                                   shall limit
                                          limit the  applicability of
                                                the applicability  of any
                                                                      any arbitration
                                                                          arbitration or other
                                                                                      or other
      dispute resolution
      dispute  resolution provision    contained in
                           provision contained      in those
                                                       those agreements)
                                                             agreements)
  •• Claims
     Claims for
            for injunctive
                injunctive or
                           or other
                              other equitable
                                    equitable relief
                                              relief related
                                                     related to
                                                              to unfair competition
                                                                 unfair competition
     and the
     and the taking,
             taking, use
                     use or unauthorized disclosure
                         or unauthorized  disclosure ofof trade
                                                          trade secrets
                                                                 secrets or
                                                                         or
     confidential information
     confidential information                                                                    15
                                                                                                 15
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HOW TO
HOW TO SUBMIT
       SUBMIT A
              A CLAIM
                CLAIM
IfIf you
     you are
         are unable
             unable to
                     to informally
                        informally resolve your employment-related
                                   resolve your employment-related legal
                                                                     legal concern
                                                                           concern to
                                                                                   to
        satisfaction, you
your satisfaction,
your                  you may
                           may submit
                               submit aa covered
                                         covered claim
                                                 claim by
                                                       by following
                                                          following these
                                                                    these steps:
                                                                           steps:
Solution Channel
Solution Channel Website
                 Website
 •• Access
    Access the
           the Solution
               Solution Channel              www.CharterSolutionChannel.com
                                          at www.CharterSolutionChannel.com
                                  website at
                         Channel website
    from any computer   or mobile device.
    from any computer or mobile device.
 •• Register
    Register so
             so that
                that you
                     you can
                         can obtain
                             obtain login
                                    login credentials
                                          credentials to
                                                      to access the claims
                                                         access the claims
    submission web
    submission   web page.
                      page.
 •• Login
    Login credentials
          credentials will
                      will be
                           be emailed
                              emailed to
                                      to you.
                                         you.
Completing the
Completing the Claim
               Claim Form
                     Form
 •• Log
    Log in
        in at
           at the
              the Solution
                  Solution Channel  website, and
                           Channel website,  and you will be
                                                 you will be directed
                                                             directed to
                                                                      to the
                                                                         the
    Solution Channel
    Solution  Channel claim
                      claim portal.
                            portal.
 •• Click
    Click Start.
          Start.
 •• Complete
    Complete the
               the claim
                   claim form
                         form accurately
                               accurately and
                                          and completely,
                                              completely. InIn the
                                                               the form, you will
                                                                   form, you will
    describe the
    describe the nature
                  nature of
                         of your
                            your claim,
                                 claim, the
                                        the basis
                                            basis for
                                                  for your
                                                      your claim,
                                                           claim, and
                                                                   and the
                                                                       the remedy
                                                                           remedy
    you are
    you     seeking.
        are seeking.
 •• Save
    Save any
          any information
              information you
                          you wish
                              wish to
                                   to include
                                      include in
                                              in the
                                                 the claim
                                                     claim form
                                                           form before
                                                                before exiting
                                                                       exiting the
                                                                               the
    form.
    form.
         may save
    You may
 •• You      save information
                   information and
                                and exit,
                                    exit, and
                                          and then
                                              then later
                                                   later add
                                                         add additional
                                                             additional information
                                                                        information
    by logging
    by         into the
       logging into the site
                        site and
                             and selecting your claim.
                                 selecting your claim.
Acknowledgment and
Acknowledgment and Submission
                   Submission of
                              of the
                                 the Claim
                                     Claim
  •• When
     When you
            you have
                have completed
                      completed the
                                 the form
                                     form and
                                           and are
                                                are ready
                                                    ready to to submit
                                                                submit your
                                                                          your claim,
                                                                               claim, you
                                                                                      you
     must acknowledge
     must  acknowledge and
                         and attest to the
                             attest to the accuracy
                                           accuracy ofof the
                                                         the information
                                                               information inin the
                                                                                the form
                                                                                    form
     and then
     and then click
              click Submit
                     Submit Claim. The date
                            Claim. The  date you
                                             you submit
                                                  submit thethe completed
                                                                 completed claim     form
                                                                              claim form
     to Charter
     to Charter will
                will determine
                     determine whether
                                whether the
                                         the claim
                                             claim was
                                                    was timely
                                                          timely filed.
                                                                   filed.
  •• You
     You will
         will receive
              receive an
                      an email
                         email confirming
                                confirming receipt
                                            receipt of
                                                     of the
                                                        the claim,
                                                            claim, along
                                                                   along with     claim
                                                                         with aa claim
     number. You
     number.   You should
                   should keep
                           keep aa copy
                                   copy of
                                        of this
                                           this information.
                                                information. Charter
                                                               Charter will
                                                                       will also
                                                                            also receive
                                                                                 receive
     an automated
     an automated notification
                    notification that
                                  that your
                                       your claim
                                            claim has
                                                   has been
                                                        been submitted.
                                                              submitted.
  •• IfIf you
          you require
              require an
                      an accommodation,
                          accommodation, or
                                          or are
                                             are otherwise unable to
                                                 otherwise unable  to submit
                                                                      submit aa claim
                                                                                claim
     using the
     using        portal, you
              the portal, you must
                              must send
                                   send your
                                        your request
                                             request for
                                                     for assistance
                                                         assistance by
                                                                     by email
                                                                        email to
                                                                              to
     Charter at
     Charter       SolutionChannel@charter.com.
                at SolutionChannel@charter.com.




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                                                                                            16
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DEADLINES AND
DEADLINES     TIMELINES
          AND TIMELINES
 •• You       submit aa covered
        must submit
    You must             covered claim
                                 claim before
                                        before the
                                                the end
                                                     end of
                                                         of the
                                                            the statute
                                                                 statute of
                                                                          of limitations
                                                                             limitations
    applicable to
    applicable to the
                  the claim.
                      claim. You
                             You have
                                  have the
                                       the right
                                            right to
                                                  to consult
                                                     consult with
                                                              with an
                                                                    an attorney
                                                                        attorney
    regarding the
    regarding the applicable
                   applicable statute
                              statute of
                                      of limitations
                                         limitations or
                                                      or your
                                                         your claim
                                                               claim in
                                                                      in general.
                                                                         general.
 •• Charter
    Charter will
            will communicate
                 communicate toto you
                                  you whether  the claim
                                       whether the claim is
                                                         is arbitrable
                                                            arbitrable within
                                                                       within 10
                                                                              10
    days after
    days after the
               the claim
                   claim is
                         is submitted.
                            submitted.
 •• Charter
    Charter will
            will complete
                 complete its          review of
                              internal review
                          its internal        of an
                                                 an arbitrable
                                                    arbitrable claim
                                                               claim and
                                                                     and issue
                                                                         issue its
                                                                               its
    determination, within
    determination, within 60
                          60 days
                               days after
                                    after the
                                          the claim is submitted.
                                              claim is submitted.
 •• You
    You must
        must indicate
              indicate whether   you wish
                       whether you   wish to proceed with
                                          to proceed      an arbitration
                                                     with an arbitration hearing
                                                                         hearing
    within 15
    within 15 days
              days after
                   after receiving
                         receiving the determination.
                                   the determination.
 •• IfIf you
         you indicate
             indicate that
                       that you
                            you wish
                                wish to
                                      to proceed with an
                                         proceed with  an arbitration  hearing, the
                                                           arbitration hearing, the
    parties    will have 10  days to select an arbitrator.
    parties will have 10 days to select an arbitrator.
 •• An
    An informal
        informal conference
                 conference with
                              with the
                                   the arbitrator
                                       arbitrator will
                                                  will typically
                                                       typically be
                                                                 be scheduled
                                                                    scheduled for
                                                                               for
    within 10
    within  10 days
               days after     arbitrator is
                          the arbitrator
                    after the            is selected
                                            selected and  confirmed to
                                                     and confirmed    to preside over
                                                                         preside over
    the matter.
    the  matter.
 •• The
    The parties
         parties will
                  will have
                       have up to 90
                            up to 90 days
                                     days after
                                          after the
                                                the informal
                                                    informal conference
                                                             conference with
                                                                        with the
                                                                             the
    arbitrator, to
    arbitrator, to exchange
                   exchange information
                              information or
                                          or conduct  other discovery.
                                             conduct other  discovery.
 •• The
    The arbitration
         arbitration hearing
                     hearing will
                             will generally
                                  generally occur
                                             occur within
                                                   within 180
                                                           180 days
                                                               days after
                                                                      after the
                                                                            the
    informal conference
    informal  conference with
                          with the
                               the arbitrator,
                                    arbitrator, and will generally
                                                and will generally last
                                                                   last one
                                                                        one or
                                                                             or two
                                                                                two
    days.
    days.
 •• The
    The parties
         parties will be permitted
                 will be  permitted to
                                     to submit post-hearing briefs
                                        submit post-hearing briefs to
                                                                   to the arbitrator
                                                                      the arbitrator
    within 45
    within 45 days
               days after
                      after the
                            the arbitration.
                                arbitration.
 •• The
    The arbitrator
        arbitrator will
                   will issue
                         issue aa decision
                                  decision and
                                           and the
                                                the matter
                                                    matter will
                                                           will be
                                                                be fully
                                                                   fully resolved,
                                                                         resolved,
    generally no
    generally no later
                 later than
                        than one
                              one year
                                   year after
                                        after the
                                              the submission  of the
                                                  submission of  the claim.
                                                                      claim,
ItIt is
     is imperative
        imperative that
                   that you
                        you comply
                             comply with
                                    with the
                                          the employee
                                              employee deadlines    highlighted above
                                                         deadlines highlighted  above
to preserve
to    preserve your  rights under
               your rights  under Solution
                                  Solution Channel.
                                            Channel. Deadlines  will not
                                                     Deadlines will  not be
                                                                         be postponed
                                                                             postponed
or extended
or    extended absent
                absent mutual
                        mutual agreement
                                agreement ofof the
                                               the parties or good
                                                   parties or good cause
                                                                   cause shown
                                                                           shown by
                                                                                  by the
                                                                                     the
party requesting
party     requesting postponement.
                     postponement.
KEY ELEMENTS
KEY ELEMENTS OF ARBITRATION
             OF ARBITRATION
Selecting an
Selecting    Arbitrator
          an Arbitrator
IfIf you
     you are      satisfied with
             not satisfied
         are not            with Charter's
                                 Charter's decision
                                           decision following
                                                     following the
                                                               the internal
                                                                   internal claim
                                                                             claim review
                                                                                   review
and decide
and    decide to
               to proceed
                  proceed with               of your
                                 arbAration of
                            with arbitration    your claim,
                                                     claim, you
                                                            you must
                                                                 must notify
                                                                       notify Charter  of
                                                                              Charter of
your intention
your    intention to
                   to proceed
                      proceed with  arbitration.
                               with arbitration.
IfIf you
     you decide
          decide to
                  to move
                     move forward    with arbitration,
                           forward with   arbitration, the       step is
                                                            next step
                                                       the next       is for
                                                                         for the
                                                                             the parties
                                                                                  parties
to jointly
to            select an
      jointly select                Charter will
                        arb'trator. Charter
                     an arbitrator.         will obtain
                                                 obtain from
                                                         from the
                                                              the AAA
                                                                   AAA aa list
                                                                           list of
                                                                                of five
                                                                                   five
              arbitrators deemed
potential arbitrators
potential                 deemed by by AAA
                                       AAA to
                                            to have  signifcant experence
                                                have significant                arbitrating
                                                                  expersence arbitrating
employment claims.
employment        claims.
                                                                                              17
                                                                                              17
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Charter will
Charter  will emal
              emal thethe list
                          list to
                               to you,
                                   you, and
                                         and you
                                             you will
                                                 will have
                                                      have the
                                                            the first  opportunity to
                                                                 first opportunity    to strike
                                                                                          strike
           of an
     name of
the name
the            an arbitrator
                  arbitrator that
                               that you
                                     you do
                                          do not
                                             not wish
                                                 wish to
                                                       to preside
                                                          preside over
                                                                     over the
                                                                          the arbitration.
                                                                               arbitration.
After you
After  you strike    name and
           strike aa name    and communicate
                                   communicate youryour decision
                                                        decision to    Charter by
                                                                    to Charter    by email,
                                                                                     email,
Charter will
Charter  will then
              then have
                     have the
                           the same
                                 same opportunity
                                        opportunity to
                                                     to strike
                                                        strike one
                                                                one name
                                                                      name from
                                                                             from the
                                                                                    the list
                                                                                        list and
                                                                                             and
send you
send  you an
           an email
               email with
                       with Charter's
                            Charter's decision.
                                         decision. The
                                                   The parties
                                                        parties continue
                                                                 continue to to take
                                                                                take turns
                                                                                      turns
striking names until
striking names    until there
                        there isis just
                                   just one arbitrator name
                                        one arbitrator name left
                                                               left on
                                                                     on the list.
                                                                        the list.
The remaining
The   remaining arbitrator
                 arbitrator on
                             on the
                                the list
                                     list will
                                          will serve
                                               serve as
                                                     as the
                                                         the arbitrator,
                                                              arbitrator, so
                                                                          so long
                                                                             long as
                                                                                  as he
                                                                                      he or
                                                                                          or
she is
she               within the
        available within
     is available        the timelines
                              timelines required
                                          required byby this
                                                        this Program.
                                                              Program. Charter
                                                                         Charter will
                                                                                  will notify
                                                                                       notify
AAA of
AAA    of the
          the parties'
              parties' choice
                       choice for  arbitrator, and
                               for arbitrator,       will notify
                                                and will  notify you
                                                                  you by
                                                                       by email when the
                                                                          email when    the
            has been
arbitrator has
arbitrator      been confirmed
                       confirmed toto preside
                                       preside over
                                                over the
                                                      the claim.
                                                           claim.

The Initial Conference
The Initial Conference
After the
After   the arbitrator
             arbitrator is
                        is appointed,
                           appointed, anan informal
                                           informal telephone
                                                      telephone conference
                                                                   conference is is held
                                                                                    held
between the
between                      and both
                 arbitrator and
            the arbitrator        both parties
                                        parties and
                                                and their
                                                     their legal
                                                           legal representatives
                                                                  representatives (if (if
applicable). In
applicable).    In cooperation    with the
                   cooperation with        arbitrator, the
                                       the arbitrator,  the parties   will identify
                                                            parties will   identify the   steps
                                                                                     the steps
needed to
needed    to prepare
              prepare for
                       for the
                            the hearing
                                 hearing and
                                         and may
                                              may set           for submission
                                                         dates for
                                                   set dates        submission of  of witness
                                                                                      witness
lists, exhibits,
lists, exhibits, any
                  any briefs,
                       briefs, and
                               and the
                                    the hearing.
                                        hearing. The
                                                  The arbitrator
                                                       arbitrator may
                                                                    may also
                                                                          also discuss
                                                                               discuss thethe
law and
law   and burdens
           burdens ofof proof        apply and
                                that apply
                        proof that         and any
                                                 any other
                                                     other issues
                                                             issues relating
                                                                     relating to
                                                                               to how
                                                                                  how thethe
parties will
parties   will proceed
               proceed toward
                         toward and
                                  and during
                                       during the  arbitration hearing.
                                               the arbitrat:on   hearing.
Either party
Either party may
             may challenge
                   challenge the  arbitrability of
                             the arbitrability  of aa claim
                                                      claim until
                                                            until the
                                                                  the day
                                                                      day of
                                                                          of the initial
                                                                             the initial
                  the arb;trator.
             with the
conference with
conference            arbtrator.
All decisions
All decisions or
              or orders
                 orders of
                        of the
                           the arbitrator will be
                               arbitrator will be documented
                                                  documented in
                                                             in aa letter
                                                                   letter or other
                                                                          or other
        format for
written format
written         for both
                    both parties.
                         parties.

           Information and
Exchanging Information
Exchanging             and Preparing
                           Preparing for
                                     for Hearing
                                         Hearing
The parties
The  parties will
             will have
                   have 90
                        90 days
                             days toto exchange
                                       exchange information
                                                   information and and take
                                                                        take depositions.
                                                                             depositions.
Information is
Information   is generally
                 generally exchanged
                             exchanged through
                                           through written
                                                     written questions
                                                                questions or
                                                                           or requests
                                                                              requests
    documents, called
for documents,
for                                           requests for
                          interrogatories, requests
                  called interrogatories,                     production, or
                                                         for production,    or third
                                                                               third party
                                                                                     party
subpoenas. Each
subpoenas.   Each party
                    party will
                            will be
                                 be permitted
                                     permitted toto take
                                                    take upup to
                                                               to four
                                                                  four (4)
                                                                       (4) depositions
                                                                           depositions and
                                                                                         and
allowed up
allowed  up to
            to 20
                20 total
                    total interrogatories
                           interrogatories (including
                                              (including subparts)
                                                            subparts) and
                                                                        and up
                                                                            up to
                                                                                to 15
                                                                                   15 total
                                                                                      total
requests for
requests  for documents
              documents to   to the
                                 the other
                                     other party,
                                             party, whether
                                                    whether the the interrogatories
                                                                    interrogatories and
                                                                                      and
requests for
requests  for documents
              documents are  are sent
                                  sent at
                                        at one
                                           one time
                                                time or   in increments,
                                                      or in                Each party
                                                             increments. Each     party will
                                                                                        will
bear the
bear  the cost
          cost of
                of taking                  including court
                            depositions, including
                   taking depositions,                court reporter
                                                               reporter and
                                                                         and witness
                                                                              witness fees.
                                                                                       fees.
Any disagreements
Any                  regarding the
     disagreements regarding    the exchange
                                     exchange of of information
                                                    information or
                                                                 or depositions  will
                                                                    depositions will
be resolved
be resolved by
            by the
                the arbitrator
                    arbitrator to allow aa full
                               to allow    full and
                                                and equal
                                                     equal opportunity
                                                           opportunity to
                                                                       to all
                                                                           all parties
                                                                               parties
to present
to present evidence
           evidence that
                     that the
                           the arbitrator
                               arbitrator deems
                                           deems material
                                                    material and
                                                             and relevant
                                                                 relevant to
                                                                          to the
                                                                              the
              the dispute,
           of the
resolution of
resolution        dispute,
The arbitrator
The arbitrator has
                 has the
                     the discretion
                         discretion to
                                     to draw
                                        draw an
                                             an adverse
                                                adverse inference
                                                          inference against
                                                                    against aa party
                                                                               party
who fails
who  fails to
           to timely             in the
                      cooperate in
              timely cooperate      the exchange
                                        exchange of
                                                  of information.
                                                     information.



                                                                                                   18
                                                                                                   18
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What to
What to Expect
        Expect During
               During the
                      the Hearing
                          Hearing
An arbitration
An  arbitration hearing
                hearing is
                         is not
                            not as
                                as formal
                                   formal as
                                           as aa trial.
                                                 trial. These
                                                        These hearings
                                                               hearings will
                                                                         will be
                                                                              be held,
                                                                                 held,
at Charter's
at            expense, at
   Charter's expense,  at aa hotel
                             hotel meeting
                                   meeting or    conference room
                                             or conference    room oror similar,
                                                                        similar, neutral
                                                                                 neutral
location within
location  within 100
                 100 miles
                      miles of
                             of your
                                your last
                                     last Charter
                                          Charter work
                                                     work location,
                                                           location, unless  another
                                                                     unless another
location is
location  is mutually
             mutually agreed
                      agreed upon.
                               upon.
The              is typically
     arbitrator is
The arbitrator      typically seated
                              seated between
                                      between the   parties. The
                                                the parties.      parties may
                                                             The parties   may call
                                                                                call
witnesses to
witnesses   to testify,
               testify, and      testifying witness
                             any testifying
                        and any             witness under          will be
                                                             oath will
                                                     under oath         be seated near
                                                                           seated near
the arbitrator. A
the arbitrator.     court reporter
                 A court  reporter will
                                   will usually
                                        usually be
                                                 be seated
                                                    seated near
                                                            near the
                                                                  the witness
                                                                       witness seat
                                                                               seat to
                                                                                     to
transcribe all
transcribe  all testimony
                testimony and
                            and substantive
                                 substantive statements
                                             statements of of the
                                                              the arbitrator
                                                                   arbitrator and
                                                                              and parties
                                                                                   parties
   their representatives.
or their
or       representatives.
       the arbitrator
After the
After       arbitrator makes      initial remarks
                         makes initial    remarks and
                                                    and tells  the parties
                                                         tells the  parties about
                                                                             about some
                                                                                     some
ground rules
ground    rules for
                 for the arbitration, the
                     the arbitration,        arbitrator may
                                         the arbitrator        allow each
                                                         may allow     each party
                                                                             party oror their  legal
                                                                                         their legal
representative to
representative     to make
                      make an an opening
                                 opening statement.
                                             statement. These
                                                          These statements
                                                                   statements are are followed
                                                                                       followed byby
witness testimony,
witness    testimony, with
                        with the
                               the claimant
                                    claimant calling
                                               calling his
                                                        his or
                                                            or her
                                                               her witnesses
                                                                    witnesses first.
                                                                                 first. Witnesses
                                                                                        Witnesses
will be
will be subject
         subject toto direct
                      direct and
                              and cross
                                    cross examination.
                                           examination. The The parties   will bear
                                                                 parties will  bear the
                                                                                      the same
                                                                                           same
burden of
burden    of proof
             proof and
                     and production
                          production of  of evidence
                                            evidence regarding
                                                       regarding thethe claim
                                                                        claim as
                                                                               as would
                                                                                    would apply
                                                                                            apply ifif
the claim
the  claim had
             had been
                  been brought
                         brought in in court.
                                       court. At
                                               At the
                                                  the end
                                                      end ofof all
                                                               all of
                                                                   of the
                                                                      the witness
                                                                          witness testimony,
                                                                                     testimony, thethe
parties may
parties  may also
                also have
                      have the
                            the chance
                                 chance to to make
                                              make closing
                                                     closing arguments
                                                               arguments to to the   arbitrator.
                                                                                the arbitrator,
           the hearing,
Following the
Following       hearing, the
                           the parties
                               parties will
                                        will be
                                             be given
                                                given the
                                                       the opportunity
                                                           opportunity toto submit
                                                                            submit written,
                                                                                     written,
post-hearing briefs
post-hearing   briefs to
                      to the
                          the arbitrator.
                               arbitrator. The
                                           The arbitrator  will issue
                                                arbitrator will issue aa written opinion
                                                                         written opinion
containing the
containing  the arbitrator's
                 arbitrator's findings,
                               findings, decision
                                          decision and
                                                    and any
                                                         any award.
                                                              award. The
                                                                      The arbitration
                                                                           arbitration
          will be
decision will
decision       be final
                  final and
                        and binding
                              binding as
                                       as to
                                          to the
                                              the claim
                                                  claim arbitrated
                                                         arbitrated by
                                                                    by the
                                                                        the parties,
                                                                            parties, but
                                                                                     but
will have
will have no
          no binding
              binding effect    in any
                        effect in  any other
                                       other proceeding.
                                               proceeding.




                                                                                                         19
                                                                                                         19
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            Internal review
            Internal review of
                            of claim,
                               claim, which
                                      which is
                                            is
            communicated to
            communicated    to claimant
                               claimant



             Claimant must
             Claimant must decide
                           decide whether
                                   whether to
                                           to
             proceed to
             proceed to arbitration
                        arbitration



             Arbitrator is
             Arbitrator is jointly selected by
                           jointly selected by the
                                               the
             parties




             Initial conference
             Initial conference with
                                with arbitrator
                                     arbitrator




              Parties exchange
              Parties exchange information
                                 information and
                                             and
              prepare for
              prepare  for arbitration
                           arbitration hearing
                                       hearing




              Arbitrator issues
              Arbitrator issues final
                                final and
                                      and binding
                                          binding
              decision
              decision
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Key Terms
Key Terms to
          to Know
             Know
    Understand
and Understand
and
                     Channel is
          Sco.ition Channel
Because Scyution
Because                       is the
                                 the process
                                     process utilized
                                              utilized at
                                                       at Charter
                                                          Charter to
                                                                  to resolve
                                                                     resolve most
                                                                             most
legal disputes
legal disputes related
                 related to
                         to employment,
                            employment, itit is
                                             is important
                                                important to
                                                           to know
                                                              know and
                                                                    and understand
                                                                         understand
the meaning
the meaning of of terms
                  terms associated
                         associated with
                                      with and
                                           and used
                                                 used to
                                                      to explain
                                                         explain Solution  Channel.
                                                                 Solution Channel.
Following is
Following  is an
              an alphabetized
                  alphabetized glossary
                                 glossary of
                                          of key
                                             key terms
                                                  terms and
                                                         and how
                                                             how they
                                                                  they are
                                                                        are defined
                                                                            defined for
                                                                                    for
purposes of
purposes   of Solution  Channel.
              Solution Channel.
American Arbitration
American   ArbitraUon Association
                         Association -- Founded
                                        Founded inin 1926,
                                                     1926, the
                                                           the American   Arbitration
                                                               American Arbitration
Association (AAA)
Association  (AAA) isis aa non-profit
                           non-profit public
                                      public service
                                             service organization
                                                      organization dedicated
                                                                   dedicated to
                                                                              to the
                                                                                 the
           of disputes
resolution of
resolution    disputes through
                         through alternative
                                  alternative procedures.
                                              procedures, AAA
                                                            AAA will
                                                                 will preside
                                                                      preside over
                                                                              over
disputes that
disputes that proceed
              proceed to to arbitration through Solution
                            arbitration through  So6ut:on Channel.
                                                           Channel.
ArbitraCon -- A
Arbitration    A hearing
                 hearing or
                          or other
                              other proceeding
                                     proceeding where
                                                  where aa legal
                                                             legal dispute
                                                                   dispute between
                                                                             between
Charter and
Charter  and aa current
                current employee,
                         employee, former
                                      former employee,
                                              employee, or or applicant
                                                               applicant for
                                                                          for employment
                                                                              employment
is formally
is formally presented
            presented toto aa neutral
                              neutral third
                                       third party
                                             party for final and
                                                   for final  and binding
                                                                   binding resolution.
                                                                            resolution.
 During arbitration,
During  arbitration, the
                     the parties
                          parties (claimant
                                  (claimant and
                                              and respondent)
                                                   respondent) are are also
                                                                       also permitted
                                                                             permitted to
                                                                                        to
         evidence that
 present evidence
present            that supports
                         supports their
                                    their position.
                                           position.
Arbitrator -- A
Arbitrator       neutral and
              A neutral  and objective
                               objective third
                                           third party
                                                 party jointly
                                                       jointly selected
                                                               selected by
                                                                         by the
                                                                            the claimant
                                                                                 claimant
and respondent
and respondent involved
                  involved inin aa legal
                                   legal dispute.
                                         dispute. The
                                                  The arbitrator
                                                        arbitrator acts
                                                                   acts as
                                                                        as an  impartial
                                                                           an impartial
judge in
judge in that
         that he
               he or
                  or she
                     she examines
                          examines and and weighs
                                            weighs the
                                                    the value
                                                         value and
                                                                and credibility
                                                                    credibility of
                                                                                of evidence
                                                                                   evidence
presented during
presented   during arbitration,    reviews and
                    arbitration, reviews     and analyzes
                                                 analyzes the   applicable laws,
                                                            the applicable  laws, and
                                                                                   and
reaches aa final
reaches    final and
                 and binding
                      binding decision
                                decision that
                                           that resolves
                                                resolves the
                                                          the dispute.
                                                               dispute.
Brief -- A
Brief    A written
           written explanation
                    explanation ofof aa party's
                                        party's position
                                                position and  arguments in
                                                         and arguments     in aa legal
                                                                                 legal
dispute. Both
dispute.   Both the
                the claimant
                     claimant and
                               and respondent
                                     respondent are
                                                  are generally
                                                       generally given
                                                                 given the
                                                                       the opportunity
                                                                             opportunity
   submit aa brief
to submit
to            brief to
                    to the
                        the arbitrator.
                            arbitrator. Depending
                                         Depending upon
                                                     upon the
                                                           the nature
                                                               nature of
                                                                       of the
                                                                          the dispute,
                                                                                dispute,
the arbitrator
the arbitrator may
                 may request
                       request that
                                that the
                                     the parties
                                          parties submit
                                                  submit aa pre-hearing
                                                            pre-hearing brief
                                                                          brief and/or
                                                                                  and/or aa
post-hearing brief.
post-hearing    brief.
Claim -- A
Claim    A legal
             legal demand
                     demand mademade byby aa person
                                             person oror party seeking monetary
                                                         party seeking    monetary or  or
non -monetary compensation
non-monetary        compensation or   or another
                                         another remedy
                                                    remedy for
                                                             for aa loss
                                                                    loss suffered
                                                                         suffered as as the
                                                                                        the
       of aa legal
result of
result        legal dispute.
                     dispute. Through
                               Through Solution
                                          Solution Channel,
                                                     Channel, aa current
                                                                   current employee,
                                                                             employee, former
                                                                                          former
employee, or
employee,      or applicant
                  applicant for
                              for employment
                                  employment can  can resolve   eligible employment-related
                                                        resolve eligible   employment-related
claims asserted
claims  asserted against
                      against Charter.
                               Charter. Similarly,
                                         Similarly, Solution
                                                      Solution Channel
                                                               Channel is  is the   means by
                                                                              the means     by
which Charter
which   Charter willwill resolve
                         resolve qualifying
                                  qualifying employment-related
                                               employment-related claims claims itit may
                                                                                     may assert
                                                                                          assert
against aa current
against     current or     former employee.
                       or former   employee. Solution
                                                Solution Channel
                                                           Channel does
                                                                      does not
                                                                             not allow
                                                                                  allow claims
                                                                                         claims
to be brought
to be  brought by  by aa group
                         group oror class
                                    class of
                                          of current
                                              current employees,
                                                       employees, former
                                                                      former employees,
                                                                               employees, or  or
applicants for
applicants     for employment.
                   employment. UnderUnder Solution
                                             Solution Channel,
                                                       Channel, claims
                                                                   claims can
                                                                           can only
                                                                                only bebe brought
                                                                                          brought
by or
by or on
       on behalf
           behalf of of an
                        an individual,
                            individual, or
                                        or by
                                            by or
                                               or on
                                                   on behalf
                                                       behalf of
                                                              of Charter.
                                                                  Charter.
                                                                                                    21
                                                                                                    21
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Claimant -- The
Claimant    The person      party that
                        or party
                person or         that initiates           A claim
                                                    claim. A
                                       initiates aa claim.   claim may
                                                                   may be
                                                                       be brought
                                                                          brought
      current employee,
by aa current
by            employee, aa former
                           former employee,
                                   employee, anan applicant
                                                    applicant for employment, or
                                                              for employment, or
Charter.
Charter.
      Form -- The
Claim Form
Cairn         The official
                  official statement and description
                           statement and description of
                                                     of aa claim
                                                           claim asserted
                                                                 asserted by
                                                                          by aa
       or party.
person or
person    party.
Decision -- A
Decision     A written
                written summary
                        summary andand analysis
                                        analysis prepared
                                                  prepared by by the
                                                                 the arbitrator following
                                                                     arbitrator following
an arbitration
an  arbitration proceeding.
                 proceeding. The
                              The decision
                                   decision typically
                                             typically includes
                                                        includes factual
                                                                  factual findings,
                                                                          findings, an
                                                                                    an
overview of
overview   of the              laws, the
                   applicable laws,
              the applicable         the arbitrator's
                                         arbitrator's final
                                                      final and
                                                             and binding
                                                                  binding decision,
                                                                          decision, the
                                                                                     the
rationale for
rationale  for the
               the decision,
                    decision, and
                              and any  monetary or
                                  any monetary     or nonmonetary
                                                      non monetary remedy
                                                                       remedy awarded
                                                                               awarded toto
     claimant.
the claimant.
the

Discovery -- The
Discovery    The period  during which
                 period during   which the
                                         the claimant
                                             claimant and
                                                       and respondent
                                                            respondent exchange
                                                                        exchange
documents and
documents        other  evidence
             and other evidence related
                                  related to
                                           to the claim. Discovery
                                              the claim. Discovery may
                                                                    may be   in written
                                                                         be in  written
form, the deposition  testimony   of a           or other tangib e things
                                       witness, or other tangib'e things such
form, the deposition testimony of a witness,                              such asas
                   video  recordings,  pictures, and/or  social media  postings.
       recordings, video recordings, pictures, and/or social media postings.
audio recordings,
audio
Dispute -- A
Dispute      disagreement of
           A disagreement   of aa legal
                                  legal nature
                                        nature between
                                               between Charter
                                                        Charter and
                                                                and aa current
                                                                       current
employee, aa former
employee,            employee, or
             former employee,     or an
                                     an applicant
                                        applicant for employment. Solution
                                                  for employment.  Solution Channel
                                                                            Channel
is the
is                 for resolving
       mechanism for
   the mechanism       resolving covered
                                   covered employment-related
                                           employment-related disputes.
                                                                disputes.
Evidence -- Documents,
Evidence    Documents, testimony,
                          testimony, written
                                       written statements,   and other
                                                 statements, and other tangible
                                                                       tangible items
                                                                                items
     prove or
that prove
that        or disprove
               disprove facts
                        facts relating
                               relating to    claim.
                                        to aa claim.
 Final and
Final  and Binding
           Binding -- A
                      A term
                        term used
                             used to  describe aa decision
                                   to describe    decision of
                                                           of the
                                                              the arbitrator
                                                                  arbitrator that
                                                                             that
 generally cannot
generally  cannot bebe appealed to any
                       appealed to  any other
                                        other person
                                              person or
                                                      or body
                                                         body and
                                                               and is
                                                                    is enforceable
                                                                       enforceable like
                                                                                   bike
         ruling or
   court ruling
aa court        or judgment.
                   judgment.
      Representative -- An
Legal Representative
Legal                    An attorney              to act
                                       authorized to
                             attorney authorized     act on
                                                          on behalf
                                                             behalf of
                                                                     of Charter
                                                                        Charter or
                                                                                or aa
claimant   during     arbitration process. You  may  involve  a legal representative,
                  the arbitration process. You may involve a legal representative,
claimant during the
but this
but this is
         is not           Each party
                required. Each
            not required.       party bears
                                      bears the
                                            the cost
                                                cost of
                                                      of an
                                                         an attorney,
                                                            attorney, unless
                                                                       unless the
                                                                              the
arbitrator  orders otherwise.
arbitrator orders otherwise.
Remedy -- The
Remedy      The relief
                  relief or
                         or damages     awarded by
                            damages awarded       by an
                                                     an arbitrator
                                                        arbitrator toto the
                                                                         the claimant
                                                                             claimant ifif the
                                                                                           the
            finds in
arbitrator finds
arbitrator         in favor
                      favor of
                             of the
                                the claimant.
                                    claimant. The   type of
                                                The type  of relief
                                                             relief will
                                                                     will vary,
                                                                          vary, based
                                                                                based on
                                                                                      on
    nature of
the nature
the          of the
                the claim,
                     claim, but
                             but will
                                  will be limited to
                                       be limited to the
                                                     the form
                                                         form ofof relief
                                                                    relief that
                                                                           that would
                                                                                would be
                                                                                      be
           in court
available in
available     court oror through
                         through anan administrative
                                       administrative agency.
                                                       agency.
Respondent -- The
Respondent    The party
                  party who
                        who is defending aa claim.
                            is defending    claim,




                                                                                                 72
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Statute of
Statute      of Limitations
                Limitations -- The The period
                                          period of of time
                                                        time during      which the
                                                                during which        the law
                                                                                          law allows
                                                                                                  allows an an
individual or
individual      or entity
                    entity to
                            to pursue
                               pursue aa particular
                                              particular typetype ofof claim.
                                                                       claim. IfIf anan individual
                                                                                          individual or    or
entity files
entity    files aa claim    beyond this
                   claim beyond         this period
                                              period of of time,
                                                            time, the
                                                                    the claim
                                                                          claim will
                                                                                   will not
                                                                                          not be be covered
                                                                                                      covered
by Solution
by   Solution Channel
                  Channel and and the      claimant will
                                     the claimant       will bebe notified
                                                                   notified thatthat the
                                                                                      the claim
                                                                                             claim has       been
                                                                                                       has been
closed. For
closed.      For example,
                 example, ifif the
                                 the statute
                                       statute of  of limitations
                                                      limitations for for filing
                                                                            filing aa claim
                                                                                       claim to   to collect
                                                                                                      collect aa
debt is
debt    is two
            two years,
                  years, then
                           then the
                                  the claim
                                         claim must
                                                 must be  be filed
                                                              filed no
                                                                     no later
                                                                         later than
                                                                                  than two
                                                                                         two yearsyears after
                                                                                                          after
the debt
the   debt waswas first
                     first owed,    otherwise, the
                           owed, otherwise,                statute of
                                                    the statute      of limitations
                                                                         limitations has   has run run and
                                                                                                         and the
                                                                                                               the
         will be
claim will
claim           be closed.
                    closed. Also,
                              Also, to to be
                                           be timely,
                                               timely, any       claim that
                                                          any claim     that mustmust be be filed
                                                                                               filed with
                                                                                                       with anan
administrative agency
administrative         agency or      body as
                                or body             precondition or
                                              as aa precondition       or prerequisite
                                                                            prerequisite to      to filing   the
                                                                                                     filing the
claim in
claim    in court,
              court, must
                       must bebe filed
                                  filed with
                                           with Solution
                                                 Solution Channel
                                                               Channel within
                                                                            within thethe time
                                                                                             time period
                                                                                                      period by by
which the
which     the charge,
                charge, complaint
                           complaint or    or other     similar document
                                               other similar       document would  would have have had had toto
     filed with
 be filed
be           with the
                    the agency
                         agency or  or other     administrative body.
                                         other administrative         body. IfIf you      file aa charge
                                                                                   you file         charge or or
complaint with
complaint       with an an administrative
                            administrative agencyagency or   or body,
                                                                  body, any
                                                                         any participation
                                                                                 participation by      by Charter
                                                                                                           Charter
 in the
in  the proceeding
          proceeding shall        not be
                           shall not     be deemed
                                             deemed aa waiver
                                                            waiver of of your
                                                                          your obligation
                                                                                   obligation to         arbitrate
                                                                                                    to arbitrate
your claims
your    claims pursuant
                   pursuant to to this     Agreement. By
                                    this Agreement.          By participating
                                                                  participating in   in this      Program, you
                                                                                         this Program,          you
waive any
waive     any argument
                argument that that Charter's
                                      Charter's participation
                                                    participation in   in such
                                                                           such aa proceeding
                                                                                      proceeding acts     acts asas
aa waiver
   waiver or  or modification
                  modification of    of the
                                         the parties'
                                              parties' agreement
                                                          agreement to     to arbitrate.
                                                                               arbitrate. IfIf an  an aggrieved
                                                                                                        aggrieved
 party pursues
party    pursues an       administrative charge
                      an administrative         charge or  or complaint
                                                               complaint and   and files
                                                                                     files aa timely       complaint
                                                                                                 timely complaint
 with Solution
 with   Solution Channel,
                      Channel, the       arbitration shall
                                  the arbitration        shall proceed
                                                                 proceed as  as quickly
                                                                                  quickly as  as possible
                                                                                                    possible under
                                                                                                                 under
 these Guidelines.
these     Guidelines.
Testimony -- Oral
Testimony     Oral statements
                    statements made
                                made under
                                       under oath
                                              oath and transcribed by
                                                   and transcribed by aa court
                                                                         court
reporter, at
reporter, at either
             either aa deposition
                       deposition or
                                  or an
                                     an arbitration.
                                        arbitration.
Waiver -- An
Waiver    An agreement
             agreement to give up
                       to give up aa right
                                     right in
                                           in exchange
                                              exchange for
                                                       for receiving
                                                           receiving aa benefit.
                                                                        benefit.




                                                                                                                         23
                                                                                                                         23
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                                   Charter
                                   Charter
                                   COMMUNICATIONS
                                   COMMUNICATIONS




02017 Charter
..i:.2017         Communications
          Charter Communications
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      Solution Channel



      After having carefully considered its components I am opting out of
      Solution Channel By opting out, I understand and agree that I am not
      required to participate in Solution Channel I also understand that if am
      already subject to another arbitration agreement I will remain subject to
      that agreement I am only opting out of Solution Channel by completing
      this form

      I ALSO UNDERSTAND THAT IF I DO NOT OPT OUT, I AM
      SPECIFICALLY CONSENTING TO PARTICIPATION IN SOLUTION
      CHANNEL
       Eiectionfc Opt,-Out Acknoviletimenl

           I want to opt out of Solution Channel

        Last Update Datert late:      1/2018 9 Ot) 2 tAhl
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         AFFIDAVIT OF
         AFFIDAVIT OF JOHN
                      JOHN FRIES
                           FRIES -- EXHIBIT
                                    EXHIBIT EE
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  From:               Paul Marchand
  To:                 Zuckerman, Jordan
  Subject:            Charter"s Code of Conduct and Employee Handbook
  Date:               Friday, October 6, 2017 5:48:49 PM




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  We should all take personal pride in ensuring our company acts with integrity and respect. We strive to do the right thing – no
  matter the circumstance or the situation.


  Our reputation and the creation of long-term value rest on how we conduct ourselves individually and collectively as a
  company. In this regard, our behavior is governed by the standards, guidelines and policies outlined in a few key resources.
  These resources explain what you should expect in the workplace, as well as the company’s expectations of you.


  Our Code of Conduct embodies our business ideals, describes behavior employees should strive to model, and provides the
  framework for reporting ethical concerns in the workplace. The Employee Handbook sets forth the policies, guidelines and
  rules that govern workplace behavior. Further integrating our three legacy companies, we have refreshed Charter’s Code of
  Conduct and Employee Handbook to ensure we’re all abiding by the same standards. The basic principles and values that
  guide our daily decisions remain unchanged. The Code of Conduct
  <https://chartercomsenterprise.newsweaver.com/hrbenefitspayroll.flyer/h03xl8ao4we13ll5xyk4bq?
  email=true&a=6&p=158838&t=12426> and Employee Handbook
  <https://chartercomsenterprise.newsweaver.com/hrbenefitspayroll.flyer/e24kxpayvvs13ll5xyk4bq?
  email=true&a=6&p=158838&t=12426> are available on Panorama. The Employee Handbook includes references and links
  to various policies. We also have various business unit policies and other corporate policies to guide our activity. You are
  encouraged to review and familiarize yourself with the Code of Conduct, the Employee Handbookand these additional
  policies. We’ll continue to see success in the marketplace by putting our customers first, acting with integrity and making
  professionalism our daily routine.


  Even with clearly articulated standards, guidelines and policies, we understand that workplace conflicts arise from time to
  time. The vast majority of these will be appropriately resolved through informal channels (such as speaking directly to your
  supervisor, manager or local human resources representative), though we also recognize that some employment-based
  disputes may be better addressed through a more structured and formal resolution process, similar to the process that was
  already the standard at Time Warner Cable and for our senior executives, which has covered over 40,000 Charter employees.
  In the unlikely event of a dispute not resolved through the normal channels, Charter has launched Solution Channel
  <https://chartercomsenterprise.newsweaver.com/hrbenefitspayroll.flyer/j8itay4n1ig13ll5xyk4bq?
  email=true&a=6&p=158838&t=12426> , a program that allows you and the company to efficiently resolve covered
  employment-related legal disputes through binding arbitration.


  By participating in Solution Channel, you and Charter both waive the right to initiate or participate in court litigation
  (including class, collective and representative actions) involving a covered claim and/or the right to a jury trial involving any
  such claim. More detailed information about Solution Channel is located on Panorama. Unless you opt out of participating in
  Solution Channel within the next 30 days, you will be enrolled. Instructions for opting out of Solution Channel are also
  located on Panorama.


  Thank you for doing your part to make Charter a positive, supportive and professional place to work. We are proud of our
  company and how we behave.
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  Paul Marchand   Rick Dykhouse  
  Executive Vice President,
  Chief Human Resources Officer   Executive Vice President,
  General Counsel and Corporate Secretary
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    Solution Channel

    Jordan Zuckerman


     Electronic Opt-Out Acknowledgment

       I am a participant in Solution Channel




                             Employee ID:          1201026

                             Hire Date:            10/14/2015

                             Business Unit:        COMSL, Community Solutions

                             Location:             CA086, 10450 Pacific Center Ct

                             Participation Date:   November 6, 2017




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